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.2
 ary Services
                                             UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION


        In re:                       §
                                     §
        WHITE WAY SIGN & MAINTENANCE §                          Case No. 14-40855
        CO.,
                                     §
                  Debtor(s)          §

                        CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                        REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                        ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                Phillip D. Levey, chapter 7 trustee, submits this Final Account, Certification that the
        Estate has been Fully Administered and Application to be Discharged.

                1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
        and, if applicable, any order of the Court modifying the Final Report. The case is fully
        administered and all assets and funds which have come under the trustee’s control in this case
        have been properly accounted for as provided by law. The trustee hereby requests to be
        discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
        discharged without payment, and expenses of administration is provided below:


        Assets Abandoned: 39,726.00                              Assets Exempt: NA
        (Without deducting any secured claims)

        Total Distributions to Claimants: 278,348.54             Claims Discharged
                                                                 Without Payment: NA

        Total Expenses of Administration: 672,869.92




                3) Total gross receipts of $ 951,218.46 (see Exhibit 1), minus funds paid to the debtor
        and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 951,218.46 from the
        liquidation of the property of the estate, which was distributed as follows:




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                                                 CLAIMS             CLAIMS                 CLAIMS                CLAIMS
                                               SCHEDULED           ASSERTED               ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                    $ 46,928.81             $ 0.00                 $ 0.00                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA          641,594.84            636,237.67            558,776.22

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA          235,054.36            176,101.10            114,093.70

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  0.00         334,788.26             93,498.13                77,453.78

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                           30,955,100.89       6,803,845.76          6,691,684.90            200,894.76

TOTAL DISBURSEMENTS                             $ 31,002,029.70     $ 8,015,283.22        $ 7,597,521.80          $ 951,218.46


                 4) This case was originally filed under chapter 11 on 11/12/2014 , and it was converted
          to chapter 7 on 03/17/2015 . The case was pending for 98 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 04/05/2023                        By:/s/Phillip D. Levey
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                      EXHIBITS TO
                                                    FINAL ACCOUNT


           EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                           UNIFORM                         $ AMOUNT
                                                               TRAN. CODE1                      RECEIVED

ACCOUNTS RECEIVABLE                                              1121-000                               18,418.52

Tax Refunds                                                      1124-000                                2,418.34

 Restricted Cash (CD-State of Illinois)                          1129-000                              186,613.69

 Liquidation of Other Personal Property                          1229-000                              319,232.35

Refunds                                                          1229-000                                  250.00

 Trustee v. All Right Sign, Inc. - Preference                    1241-000                                8,000.00

 Trustee v. Sheet Metal Workers-Preference                       1241-000                               13,000.00

Trustee v. PanCor - Preference                                   1241-000                                7,200.00

 Trustee v. First Insurance Funding Corp.                        1241-000                                9,000.00

 Trustee v. Napleton Automotive Group                            1241-000                               20,000.00

Trustee v. Village of Rosemont                                   1241-000                               15,000.00

 Trustee v. BankDirect Capital Finance                           1241-000                                5,500.00

Trustee v. Verizon Wireless                                      1241-000                                5,300.00

Trustee v. Stamos & Trucco LLP                                   1241-000                               11,000.00




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                             DESCRIPTION                                   UNIFORM                                       $ AMOUNT
                                                                          TRAN. CODE1                                    RECEIVED

    Trustee v. Barrington Bank                                               1241-000                                          12,500.00

    Trustee v. American Express                                              1241-000                                          90,000.00

    Trustee v. Travelers Insurance                                           1241-000                                           9,000.00

    Trustee v. Flannery, Sr. & Flannery III                                  1241-000                                          35,000.00

    Trustee v. AT&T                                                          1241-000                                           2,000.00

    DIP Bank Account                                                         1290-000                                         169,337.70

    Contract Payments                                                        1290-000                                          12,447.86

TOTAL GROSS RECEIPTS                                                                                                       $ 951,218.46
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                          UNIFORM             $ AMOUNT
                                                                                                    TRAN. CODE              PAID

NA                                                                                                      NA                           NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                      $ 0.00
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.                CLAIMANT                  TRAN.     SCHEDULED                                                   CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE     (from Form 6D)

               CIT Finance LLC 10201
               Centurion Parkway North
               Jacksonville, FL 32256                                    0.00                  NA                   NA              0.00




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                                               UNIFORM        CLAIMS
                                                                               CLAIMS             CLAIMS
CLAIM NO.              CLAIMANT                 TRAN.      SCHEDULED                                             CLAIMS PAID
                                                                              ASSERTED           ALLOWED
                                                CODE      (from Form 6D)

             Dell Financial 12234 N. IH-
             35, Bldg. B Austin, TX 78753                             0.00                NA               NA              0.00


             Illinois Department of
             Revenue                                             46,928.81                NA               NA              0.00

TOTAL SECURED CLAIMS                                           $ 46,928.81              $ 0.00          $ 0.00           $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                           CLAIMS             CLAIMS              CLAIMS
              PAYEE                        TRAN.                                                                 CLAIMS PAID
                                                         SCHEDULED           ASSERTED            ALLOWED
                                           CODE

TRUSTEE
COMPENSATION:LEVEY,
PHILLIP D.                                2100-000                   NA          50,689.98          50,689.98         50,689.98


TRUSTEE EXPENSES:LEVEY,
PHILLIP D.                                2200-000                   NA            850.71             850.71            850.71


ARTHUR B. LEVINE CO., INC.                2300-000                   NA           1,535.11           1,535.11          1,535.11


CABOT II - IL1M08, LLC                    2410-000                   NA          59,500.00          54,142.83         54,142.83


CABOT II-IL1M08                           2410-000                   NA          86,466.69          86,466.69         86,466.69


TECHNOLOGY SUPPORT &
SOLUTIONS, INC                            2410-000                   NA            400.00             400.00            400.00


VILLAGE OF MOUNT PROSPECT                 2410-000                   NA              60.22              60.22             60.22


ASSOCIATED BANK                           2600-000                   NA          23,177.54          23,177.54         23,177.54




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                                            UNIFORM
                                                            CLAIMS          CLAIMS            CLAIMS
                PAYEE                        TRAN.                                                            CLAIMS PAID
                                                          SCHEDULED        ASSERTED          ALLOWED
                                             CODE

Axos Bank                                   2600-000                  NA        5,815.24          5,815.24          5,815.24


OFFICE OF THE CLERK                         2700-000                  NA        1,226.00          1,226.00          1,226.00


OFFICE OF THE U.S. TRUSTEE                  2950-000                  NA        7,802.35          7,802.35          7,802.35


ADP, INC.                                   2990-000                  NA         157.35            157.35            157.35


CORNERSTONE SOLUTIONS,
INC.                                        2990-000                  NA        1,109.70          1,109.70          1,109.70


MARTENS, WILLARD                            2990-000                  NA       29,830.27        29,830.27          29,830.27


MARTENS, WILLARD D.                         2990-000                  NA       10,305.50        10,305.50          10,305.50


PAWLAK, ELIZABETH                           2990-000                  NA        1,644.50          1,644.50          1,644.50


PENSION BENEFIT GUARANTY
CORPORATIO                                  2990-000                  NA              0.00             0.00             0.00


SCHRED-IT CHICAGO                           2990-000                  NA        4,393.13          4,393.13          4,393.13


TECHNOLOGY SUPPORT &
SOLUTIONS, IN                               2990-000                  NA         250.00            250.00            250.00


TECHNOLOGY SUPPORT &
SOLUTIONS, INC                              2990-000                  NA        9,970.34          9,970.34          9,970.34


TWO STAR RECYCLING, INC.                    2990-000                  NA         750.00            750.00            750.00


UNITED STATES TREASURY                      2990-000                  NA              0.34             0.34             0.34


UPS STORE                                   2990-000                  NA           36.24            36.24              36.24




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                                          UNIFORM
                                                          CLAIMS          CLAIMS          CLAIMS
              PAYEE                        TRAN.                                                           CLAIMS PAID
                                                        SCHEDULED        ASSERTED        ALLOWED
                                           CODE

ATTORNEY FOR TRUSTEE FEES
(TRUSTEE FIRM):LEVEY,
PHILLIP D.                                3110-000                  NA      139,160.00      139,160.00         139,160.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):INMAN &
FITZGIBBONS, LTD.                         3210-000                  NA       10,460.00       10,460.00          10,460.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SAUL EWING
ARNSTEIN & LEHR, LLP                      3210-000                  NA       73,062.13       73,062.13          73,062.13


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SAUL EWING
ARNSTEIN & LEHR LLP                       3210-600                  NA       73,062.13       73,062.13               0.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):INMAN &
FITZGIBBONS, LTD.                         3220-000                  NA          271.25           271.25            271.25


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER FIRM):SAUL
EWING ARNSTEIN & LEHR, LLP                3220-000                  NA        4,399.32          4,399.32         4,399.32


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SAUL EWING
ARNSTEIN & LEHR LLP                       3220-610                  NA        4,399.32          4,399.32             0.00


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):LOIS WEST
& KRD, LTD.                               3410-000                  NA        8,243.00          8,243.00         8,243.00




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                                            UNIFORM
                                                            CLAIMS          CLAIMS           CLAIMS
                PAYEE                        TRAN.                                                           CLAIMS PAID
                                                          SCHEDULED        ASSERTED         ALLOWED
                                             CODE

ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):LOIS WEST
& POPOWCER, LTD.                            3410-000                  NA        12,741.00       12,741.00         12,741.00


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):WESLER &
ASSOCIATES                                  3410-000                  NA         1,150.00         1,150.00          1,150.00


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):WESLER &
ASSOCIATES                                  3420-000                  NA           350.00          350.00            350.00


AUCTIONEER/LIQUIDATOR FOR
TRUSTEE EXPENSES:HEATH
INDUSTRIAL AUCTION
SERVICES,                                   3620-000                  NA        15,961.62       15,961.62         15,961.62


CONSULTANT FOR TRUSTEE
FEES:MARTENS, WILLARD D.                    3731-000                  NA           660.00          660.00            660.00


JNR ADJUSTMENT COMPANY,
INC.                                        3991-000                  NA         1,703.86         1,703.86          1,703.86

TOTAL CHAPTER 7 ADMIN. FEES                                        $ NA      $ 641,594.84    $ 636,237.67       $ 558,776.22
AND CHARGES



             EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                            UNIFORM
                                                            CLAIMS          CLAIMS           CLAIMS
                PAYEE                        TRAN.                                                           CLAIMS PAID
                                                          SCHEDULED        ASSERTED         ALLOWED
                                             CODE

HOWARD & HOWARD, PLLC                       6210-160                  NA        52,623.00       52,623.00         14,419.27




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                                          UNIFORM
                                                          CLAIMS          CLAIMS          CLAIMS
              PAYEE                        TRAN.                                                           CLAIMS PAID
                                                        SCHEDULED        ASSERTED        ALLOWED
                                           CODE

HOWARD & HOWARD, PLLC                     6220-170                  NA        2,294.50          2,294.50             0.00


CRANE, HEYMAN, SIMON,
WELCH & CLAR                              6700-000                  NA       10,593.00      10,593.00           10,593.00


CRANE, HEYMAN, SIMON,
WELCH & CLAR                              6710-000                  NA        1,720.64          1,720.64         1,720.64


UNITED STATES TREASURY                    6810-000                  NA        2,377.41          2,377.41         2,377.41


FRANCHISE TAX BOARD                       6820-000                  NA        6,246.41          1,573.21         1,573.21


ILLINOIS DEPARTMENT OF
REVENUE                                   6820-000                  NA        9,434.55          9,434.55         9,434.55


NEW YORK STATE
DEPARTMENT OF                             6820-000                  NA         901.36            901.36           901.36


STATE OF FLORIDA -
DEPARTMENT OF RE                          6820-000                  NA         200.00            200.00           200.00


INTERNAL REVENUE SERVICE                  6950-000                  NA         126.00            126.00           126.00


NATIONAL ELECTRICAL
BENEFIT FUND                              6950-000                  NA       10,981.28          7,713.58         7,713.58


ABRAHAM JR., YAMIL                        6950-720                  NA       11,872.14              0.00             0.00


DORE, THOMAS M.                           6950-720                  NA       30,492.00              0.00             0.00


HOWARD BRODY                              6950-720                  NA        8,648.22              0.00             0.00




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                                         UNIFORM
                                                          CLAIMS          CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                             CLAIMS PAID
                                                        SCHEDULED        ASSERTED          ALLOWED
                                          CODE

ILLINOIS DEPARTMENT OF
REVENUE                                   6950-720                  NA         2,831.66         2,831.66           2,831.66


INTERNAL REVENUE SERVICE                  6950-720                  NA        18,677.51        18,677.51         18,677.51


MARTENS, WILLARD D.                       6950-720                  NA        41,685.00        41,685.00         26,011.44


PUTLAK, GREGORY                           6950-720                  NA         7,578.04         7,578.04           4,728.70


ROBERT B. FLANNERY, III                   6950-720                  NA              0.00             0.00              0.00


ROBERT B. FLANNERY, JR.                   6950-720                  NA              0.00             0.00              0.00


SONG, HONG                                6950-720                  NA         7,942.18         7,942.18           4,955.91


ILLINOIS DEPT OF
EMPLOYMENT SECURIT                        6950-730                  NA         1,003.93         1,003.93           1,003.93


INTERNAL REVENUE SERVICE                  6950-730                  NA         4,376.20         4,376.20           4,376.20


PENSION BENEFIT GUARANTY
CORPORATIO                                6990-000                  NA         2,449.33         2,449.33           2,449.33

TOTAL PRIOR CHAPTER ADMIN.                                       $ NA      $ 235,054.36     $ 176,101.10       $ 114,093.70
FEES AND CHARGES



           EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6E)             Claim)

            Illinois Department of
            Revenue Retailers Occupation
            Tax Springfield, IL 62796                                0.00                 NA              NA              0.00


            Ohio Department of Taxation
            PO Box 182101 Columbus,
            OH 43218-2101                                            0.00                 NA              NA              0.00


            State Disbursement Unit PO
            Box 5400 Carol Stream, IL
            60197-5400                                               0.00                 NA              NA              0.00


            Wisconsin Department of
            Revenue PO Box 8902
            Madison, WI 53708-8902                                   0.00                 NA              NA              0.00


            PENSION BENEFIT
000047C     GUARANTY CORPORATIO 5200-000                             NA            11,538.51       11,538.51         11,538.51


000049      ABRAHAM JR., YAMIL                  5300-000             NA                  0.00             0.00            0.00


000050      BRODY, HOWARD                       5300-000             NA                  0.00             0.00            0.00


000051      CHAVEZ EFREN                        5300-000             NA                  0.00             0.00            0.00


000040      ELIZABETH PAWLAK                    5300-000             NA              5,246.16       5,246.16          3,273.61


000054      GLEN GREENE                         5300-000             NA                  0.00             0.00            0.00


000038      HONG SONG                           5300-000             NA            51,844.76              0.00            0.00


000082      HONG SONG                           5300-000             NA            12,475.00       12,475.00          7,784.40




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

              ILLINOIS DEPARTMENT
AUTO          OF REVENUE                          5300-000             NA                 NA        2,112.21          2,112.21


              INTERNAL REVENUE
AUTO          SERVICE                             5300-000             NA                 NA       13,932.14         13,932.14


000018        JAMES A. KRUMIN                     5300-000             NA         104,513.13              0.00            0.00


000053        JOHN GOUNTANIS                      5300-000             NA                0.00             0.00            0.00


000019        KEVIN ALLEN MEYERS                  5300-000             NA          11,105.76              0.00            0.00


000055        LAUDERDALE, JOHN L.                 5300-000             NA                0.00             0.00            0.00


000015        MEYERS, KEVIN ALLEN                 5300-000             NA          11,105.76              0.00            0.00


000056        PEREZ, RICHARD                      5300-000             NA                0.00             0.00            0.00


000013        PROVOST, CARRIE                     5300-000             NA          23,654.22              0.00            0.00


000016        PROVOST, CARRIE                     5300-000             NA          23,654.22              0.00            0.00


000044        PUTLAK, GREGORY                     5300-000             NA          27,887.28       12,475.00          7,784.40


000067        ROBERT B. FLANNERY, III 5300-000                         NA                0.00             0.00            0.00


              ROBERT B. FLANNERY,
000066        JR.                                 5300-000             NA                0.00             0.00            0.00


000052        THOMAS DORE                         5300-000             NA                0.00             0.00            0.00


              VILLARREAL,
000057        CRISOFORO                           5300-000             NA                0.00             0.00            0.00




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                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                              (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)             Claim)

000058        WAYTECK, WILLIAM J.                 5300-000             NA                  0.00             0.00             0.00


000060A       WILLARD D. MARTENS                  5300-000             NA            12,475.00       12,475.00          7,784.40


000059        ZAHUMENSKY, TOM                     5300-000             NA                  0.00             0.00             0.00


              ELECTRICAL INSURANCE
000041        TRUSTEES                            5400-000             NA              7,046.28        7,046.28         7,046.28


              ILLINOIS DEPARTMENT
000023A       OF REVENUE                          5800-000             NA            10,428.98       10,428.98         10,428.98


              ILLINOIS DEPT OF
              EMPLOYMENT SECURIT                  5800-000             NA                634.20         634.20            634.20


              INTERNAL REVENUE
              SERVICE                             5800-000             NA                 45.55           45.55            45.55


              INTERNAL REVENUE
AUTO          SERVICE                             5800-000             NA                   NA         3,264.35         3,264.35


000075        NEW YORK STATE                      5800-000             NA                368.02         368.02            368.02


              OHIO DEPARTMENT OF
000027A       TAXATION                            5800-000             NA                721.73         721.73            721.73


              STATE BOARD OF
000078A       EQUALIZATION                        5800-000             NA                735.00         735.00            735.00

TOTAL PRIORITY UNSECURED                                             $ 0.00       $ 334,788.26      $ 93,498.13       $ 77,453.78
CLAIMS




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            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            11th Ward Democratic Party
            Campaign 3659 South Halsted
            Street Chicago, IL 60609                              300.00                 NA             NA            0.00


            A-American Self Storage
            2300 Federal Ave. Los
            Angeles, CA 90065                                     528.00                 NA             NA            0.00


            ACMC Physician Services
            836 W. Wellington Ave.
            Chicago, IL 60657                                     166.85                 NA             NA            0.00


            ADP Inc. PO Box 0500 Carol
            Stream, IL 60132-0500                               1,611.05                 NA             NA            0.00


            AT&T Long Distance PO Box
            5017 Carol Stream, IL 60197-
            5017                                                  263.23                 NA             NA            0.00


            AT&T PO Box 5019 Carol
            Stream, IL 60197-5019                               1,311.97                 NA             NA            0.00


            AT&T PO Box 5019 Carol
            Stream, IL 60197-5019                                 223.26                 NA             NA            0.00


            AT&T PO Box 5019 Carol
            Stream, IL 60197-5019                                 771.46                 NA             NA            0.00


            AT&T POB 8100 Aurora, IL
            60507-8100                                          1,012.21                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
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            Accelerated Physical Therapy
            67 W. Jackson Blvd Chicago,
            IL 60604                                            2,245.00                 NA             NA            0.00


            Accounts Payable Other
            Creditors                                         778,393.00                 NA             NA            0.00


            Active Electrical Supply 4240
            W. Lawrence Ave. Chicago,
            IL 60630-2798                                      11,645.09                 NA             NA            0.00


            Admiral Theatre 221 N.
            LaSalle St. Chicago, IL 60601                      22,500.00                 NA             NA            0.00


            Aecom Technical Services,
            Inc. 1178 Paysphere Circle
            Chicago, IL 60674                                   2,975.00                 NA             NA            0.00


            Ajilon Professional Staffing
            Dept. CH 14031 Palatine, IL
            60055                                              11,983.79                 NA             NA            0.00


            All Right Sign 3628 Union
            Ave. Steger, IL 60475                              33,094.04                 NA             NA            0.00


            Alpha Review Corporation
            184 Shuman Blvd #300
            Naperville, IL 60563                                1,254.17                 NA             NA            0.00




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            Amaigamated Bank of
            Chicago 1 W. Monroe St.
            Chicago, IL 60603                                   6,909.00                 NA             NA            0.00


            America Sign Maintenance
            PO Box 1027 Hahnville, LA
            70057                                                 403.75                 NA             NA            0.00


            American Board of Radiology
            5441 E. Williams CIR
            Tucson, AZ 85711-7412                               2,711.50                 NA             NA            0.00


            American Express 200 Vesey
            Street New York, NY 10285                          36,453.13                 NA             NA            0.00


            American Express PO Box
            0001 Los Angeles, CA 90096-
            0001                                               18,000.00                 NA             NA            0.00


            American Express POB 0001
            Los Angeles, CA 90096-8000                          1,363.55                 NA             NA            0.00


            American Inis Services Group
            PO Box 27508 New York, NY
            10087-7508                                              7.25                 NA             NA            0.00


            American Insurance Services
            Group 545 Washington
            Boulevard Jersey City, NJ
            07310                                                  15.80                 NA             NA            0.00




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            American Lift & Sign Service
            6958 N 97th CIR Omaha, NE
            68122                                               2,137.89                 NA             NA            0.00


            American OPTO Plus LED
            Corp 1206 E. Lexington Ave.
            Pomona, CA 91766                                  263,973.00                 NA             NA            0.00


            Anderson Pest Solutions 501
            W. Lake Street Elmhurst, IL
            60126                                                 245.00                 NA             NA            0.00


            Andrew Cooke & Associates,
            LLC 243 N. 5th St. Columbus,
            OH 43215                                              277.12                 NA             NA            0.00


            Arden Realty, Inc. 520 Lake
            Cook Rd. Deerfield, IL 60015                          170.00                 NA             NA            0.00


            Athletico Ltd. 625 Enterprise
            Drive Oak Brook, IL 60523                           2,077.34                 NA             NA            0.00


            Avaya, Inc. PO Box 5332
            New York, NY 10087-5332                             1,000.00                 NA             NA            0.00


            Avnet Electronics Marketing
            Box 70390 Chicago, IL
            60673-0390                                            287.78                 NA             NA            0.00


            BNA PO Box 17009
            Baltimore, MD 21297-1009                            1,306.88                 NA             NA            0.00




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            BankDirect Capital Finance,
            LLC PO Box 660448 Dallas,
            TX 75266-0448                                       6,735.25                 NA             NA            0.00


            Barrington Bank & Trust
            Company NA 201 South
            Hough Street Barrington, IL
            60010                                              22,555.80                 NA             NA            0.00


            Basic Irrigation Services Inc.
            12010 S. Aero Drive Unit 2
            Plainfield, IL 60585                                  250.00                 NA             NA            0.00


            Benshine Inc. 589 Commerce
            Drive Leitchfield, KY 42754                        11,347.82                 NA             NA            0.00


            Bureau of Workers'
            Compensation 30 W. Spring
            St. #L11 Columbus, OH
            43215-2216                                            193.95                 NA             NA            0.00


            CBS Outdoor 111 N. Vista
            Rd., Suite 3A Spokane, WA
            99212                                              42,279.00                 NA             NA            0.00


            CBS Television Studios 22
            West Washington St. Chicago,
            IL 60602                                           32,734.00                 NA             NA            0.00




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            CDW Computer Centers, Inc.
            PO Box 75723 Chicago, IL
            60675-5723                                            104.86                 NA             NA            0.00


            CIT 21146 Network Place
            Chicago, IL 60673-1211                             11,842.67                 NA             NA            0.00


            CIT Finance LLC 21146
            Network Place Chicago, IL
            60673-1211                                              0.00                 NA             NA            0.00


            CNA Surety PO Box 5077
            Sioux Falls, SD 57117-5077                            275.00                 NA             NA            0.00


            CSC PO Box 13397
            Philadelphia, PA 19101-3397                           313.00                 NA             NA            0.00


            CT Corporation System PO
            Box 4349 Carol Stream, IL
            60197-4349                                          3,237.60                 NA             NA            0.00


            Cabot Industrial Value Fund II
            OP Cabot Properties One
            Beacon Street, 17th Floor
            Boston, MA 02108                                  375,942.00                 NA             NA            0.00


            Career Builder, Inc. 13047
            Collection Center Drive
            Chicago, IL 60693-0130                                419.00                 NA             NA            0.00




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            Cassidy Tire 710 E. Northwest
            Hwy Arlington Heights, IL
            60004-6232                                          5,257.71                 NA             NA            0.00


            Certified Laboratories 23261
            Network Place Chicago, IL
            60673-1232                                            650.15                 NA             NA            0.00


            Chatham Partners LLC 676 N.
            Michigan Ave., Ste 3120
            Chicago, IL 60611                                     717.00                 NA             NA            0.00


            Chicago & Cook County
            EBB#16 Suite 940
            Westchester, IL 60154                               2,189.09                 NA             NA            0.00


            Chicago Department of
            Revenue 150 N. Michigan
            Ave. Chicago, IL 60601                                990.00                 NA             NA            0.00


            Chicago Department of
            Revenue 8034 Innovation
            Way Chicago, IL 60682-0080                            300.00                 NA             NA            0.00


            Chicago Public Schools PO
            Box 661 Chicago, IL 60690-
            0661                                                4,982.00                 NA             NA            0.00


            Christ Medical Center 4440
            W. 95th St. Oak Lawn, IL
            60453                                                 875.71                 NA             NA            0.00




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            Cincinnati Insurance Co PO
            box 145620 Cincinnati, OH
            45250-5620                                          1,341.00                 NA             NA            0.00


            Cintas Fire 1870 Brummel
            Avenue Elk Grove Village, IL
            60007                                                 267.80                 NA             NA            0.00


            Circom, Inc. 505 W. Main St.
            Bensenville, IL 60106-2180                          1,017.55                 NA             NA            0.00


            Circuit Reproduction 219
            Hergesell Ave. Maywood, NJ
            07607                                               1,900.00                 NA             NA            0.00


            City of Chicago 121 North
            LaSalle Street Room 107
            Chicago, IL 60602                                     181.00                 NA             NA            0.00


            City of Chicago Department
            of Finance PO Box 88298
            Chicago, IL 60680-1298                              9,587.19                 NA             NA            0.00


            City of Chicago Heights 1601
            Chicago Rd Chicago Heights,
            IL 60411                                               80.00                 NA             NA            0.00


            City of Country Club Hills
            4200 W. 183rd St. Country
            Club Hills, IL 60478                                   25.00                 NA             NA            0.00




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            City of Countryside 5550 East
            Ave. Countryside, IL 60525                            100.00                 NA             NA            0.00


            City of Crystal Lake 100
            Woodstock St. Crystal Lake,
            IL 60039                                              261.70                 NA             NA            0.00


            City of Des Plaines 1420
            Miner St. Des Plaines, IL
            600169                                                 83.25                 NA             NA            0.00


            City of East Chicago Indiana
            2301 East Columbus Drive
            East Chicago, IL 46312                                 65.00                 NA             NA            0.00


            City of Hammond 5925
            Calumet Avenue Hammond,
            IN 46320                                              185.00                 NA             NA            0.00


            City of Highland Park 1707 St
            Johns Avenue Highland Park,
            IL 60035                                               62.00                 NA             NA            0.00


            City of Highwood 17
            Highwood Ave. Highwood, IL
            60040                                                 293.00                 NA             NA            0.00


            City of Joliet 150 W. Jefferson
            St. Joliet, IL 60432                                   70.00                 NA             NA            0.00




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            City of Waukegan 100 N.
            Martin Luther King Jr. Ave.
            Waukegan, IL 60085                                    503.64                 NA             NA            0.00


            City of Wheaton 303 W.
            Wesley St. Wheaton, IL
            60187-0727                                            100.00                 NA             NA            0.00


            Claims One, LLC 225 Smith
            Rd. Saint Charles, IL 60174                         5,000.00                 NA             NA            0.00


            Classic Fine Decorating PO
            Box 480175 Niles, IL 60714                          1,700.00                 NA             NA            0.00


            Coins USA 6 Airport Blvd
            Latham, NY 12110                                   19,913.76                 NA             NA            0.00


            Colorimage Inc. 461 N.
            Milwaukee Ave. Chicago, IL
            60654                                               5,220.00                 NA             NA            0.00


            ComEd ComEd Customer
            Care Center PO Box 805379
            Chicago, IL 60680                                  57,254.72                 NA             NA            0.00


            Converge Media 1001
            Meadow Rd. Glencoe, IL
            60022                                               1,583.49                 NA             NA            0.00




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            Cook County Collector 25880
            Network Place Chicago, IL
            60673-1258                                            160.00                 NA             NA            0.00


            Cox Professional Resources,
            Inc. PO Box 634 Batavia, IL
            60510                                              10,856.00                 NA             NA            0.00


            Creative Hi-Tech Ltd. 710
            Cooper Court Schaumburg, IL
            60173                                              11,709.72                 NA             NA            0.00


            DND Express 6160 N. Cicero
            Ave. Chicago, IL 60646                              1,649.00                 NA             NA            0.00


            Darren Odom 730 Noyes St.
            Evanston, IL 60201                                    494.08                 NA             NA            0.00


            District School Board of
            Citrus County Fl. 1007 W.
            Main Street Inverness, FL
            34450                                                 207.00                 NA             NA            0.00


            Donald Kick 361 Everett Ave.
            Crystal Lake, IL 60014                              7,000.00                 NA             NA            0.00


            Donald Steinhagen 3411
            Prairie Ave. Brookfield, IL
            60513                                               2,892.35                 NA             NA            0.00




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            Douglas Truck Parts 1640 S.
            State St. Chicago, IL 60616-
            1214                                                1,170.61                 NA             NA            0.00


            Draper & Kramer Inc 33 W.
            Monroe St. #1900 Chicago, IL
            60603                                                 438.00                 NA             NA            0.00


            Dueco PO Box 8810 Carol
            Stream, IL 60197-8810                                 316.85                 NA             NA            0.00


            Duke's Oil Service Inc. 783
            Fairway Drive Bensenville, IL
            60106                                                 100.00                 NA             NA            0.00


            Dun & Bradstreet PO Box
            75434 Chicago, IL 60675-
            5434                                                1,828.00                 NA             NA            0.00


            EGL Company, Inc. 100
            Industrial Rd. Berkeley
            Heights, NJ 07922                                   1,036.44                 NA             NA            0.00


            Electronic Entry Sytems, Inc.
            1056 Gage St. Ste 2 Winnetka,
            IL 60093-1745                                       1,375.00                 NA             NA            0.00


            Expedient PO Box 8500-9886
            Philadelphia, PA 19178-9886                           209.65                 NA             NA            0.00




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            Family Worship Center 1350
            E. Main St. Lakeland, FL
            33801                                               5,375.00                 NA             NA            0.00


            Fast Signs 213 E. Ohio Street
            Chicago, IL 60611                                     600.00                 NA             NA            0.00


            Fastenal Company PO Box
            978 Winona, MN 55987-0978                             221.05                 NA             NA            0.00


            Fiber Instrument Sales, Inc.
            161 Clear Road Oriskany, NY
            13424                                                 229.50                 NA             NA            0.00


            Fiberglass Solutions, Inc. 436
            W. Belden Ave. Addison, IL
            60101                                               1,000.00                 NA             NA            0.00


            First Chicago Bank & Trust
            1145 N. Arlington Heights
            Rd. Itasca, IL 601463                              11,124.00                 NA             NA            0.00


            First Insurance Funding Co.
            450 Skokie Blvd. Northbrook,
            IL 60065                                           26,280.88                 NA             NA            0.00


            First Insurance Funding Co.
            PO Box 66468 Chicago, IL
            60666-0468                                              0.00                 NA             NA            0.00




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            Fulton Carroll Center 320 N.
            Damen Ave., First Floor
            Chicago, IL 60612                                   1,300.00                 NA             NA            0.00


            G. Neil PO Box 451179
            Sunrise, FL 33345-1179                                 59.99                 NA             NA            0.00


            GBC PO Box 71361 Chicago,
            IL 60694-1361                                         109.44                 NA             NA            0.00


            GRM Information Mgmt Serv.
            88044 Expedite Way Chicago,
            IL 60695                                              166.89                 NA             NA            0.00


            Goodmart 232 Madison Ave.
            New York, NY 10016                                    681.00                 NA             NA            0.00


            Goodyear/Just Tires 12 West
            Ogden Avenue Westmont, IL
            60559                                                 156.00                 NA             NA            0.00


            Graybar Electric 12431
            Collections Center Drive
            Chicago, IL 60693                                     387.43                 NA             NA            0.00


            HP Express Service PO Box
            202475 Dallas, TX 75320                               916.00                 NA             NA            0.00


            Hand Surgery & Specialty 1
            Transam Plaza Dr. #460
            Oakbrook, IL 60181                                    239.78                 NA             NA            0.00




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            Hawk Electronics 511 Glenn
            Ave. Wheeling, IL 60090                               109.59                 NA             NA            0.00


            Hennig Gasket & Seals, Inc.
            2350 W. Cullerton St.
            Chicago, IL 60608-2515                              1,464.65                 NA             NA            0.00


            Hershey Entertainment &
            Resorts 27 W. Chocolate Ave.
            Hershey, PA 17033                                  81,500.00                 NA             NA            0.00


            Hollywood Crane Services,
            Inc. 10546 Oxford Ave.
            Chicago Ridge, IL 60415-
            1802                                                  790.00                 NA             NA            0.00


            Howard Brody 6466 N
            Newland Chicago, IL 60631                           1,255.70                 NA             NA            0.00


            ISA/International Sign Assoc.
            1001 N. Fairfax Street
            Alexandria, VA 22314-1911                             796.00                 NA             NA            0.00


            Imagetec LP PO Box 740423
            Atlanta, GA 30374-0423                              7,105.35                 NA             NA            0.00


            Imagetec, L.P. 4509 Prime
            Parkway McHenry, IL 60050                             981.05                 NA             NA            0.00


            Informed RX PO Box 27275
            New York, NY 10087-7275                               638.50                 NA             NA            0.00




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            Inman & Fitzgibbons, Ltd. 33
            N. Dearborn St. Suite 1825
            Chicago, IL 60602                                   1,633.50                 NA             NA            0.00


            Integrated Engineering Sftwre
            519 E. Babcock Bozeman,
            MT 59715                                              216.78                 NA             NA            0.00


            Interactive Engineering Corp.
            884 Medina Road Medina,
            OH 44256                                            4,105.00                 NA             NA            0.00


            International Packing &
            CratingLLC 900 Hollywood
            Avenue Itasca, IL 60143                             1,765.00                 NA             NA            0.00


            Iron Mountain PO Box 27128
            New York, NY 10087                                  3,123.33                 NA             NA            0.00


            JJ Keller PO Box 548 Neenah,
            WI 54957-0548                                         870.35                 NA             NA            0.00


            James D. Young 974 Key
            Avenue San Francisco, CA
            94124                                               1,276.40                 NA             NA            0.00


            James Krumin 1465 Lily
            Cache Lane Bolingbrook, IL
            60490                                               4,513.67                 NA             NA            0.00




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            Jerome H Meyer & Co 640 N.
            La Salle Dr. #605 Chicago, IL
            60654                                                 610.00                 NA             NA            0.00


            Job Giraffe 75 Remittance Dr.
            Chicago, IL 60675-1499                                250.00                 NA             NA            0.00


            Jones Lang LaSalle 111
            Pasquinelli Dr. Westmont, IL
            60559                                                  36.00                 NA             NA            0.00


            Judge & Dolph 1925 Busse
            Rd. Elk Grove Village, IL
            60007                                               1,916.00                 NA             NA            0.00


            July Business Services PO
            Box 2208 Waco, TX 76703                             1,393.75                 NA             NA            0.00


            K&K Image Technology Inc.
            594 W. Potter Road Wood
            Dale, IL 60191                                        600.00                 NA             NA            0.00


            K&L Gates LLP 70 W.
            Madison St. Chicago, IL
            60602                                              75,706.43                 NA             NA            0.00


            Kathryn Conroy 2614 Hartzell
            Evanston, IL 60201                                  2,296.72                 NA             NA            0.00




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            Kimberly Yarbough 930
            Roosevelt Road Glen Ellyn,
            IL 60137                                               15.50                 NA             NA            0.00


            Koenig & Strey 4709 W. Golf
            Road Ste 1100A Skokie, IL
            60076                                               1,769.00                 NA             NA            0.00


            Lake County Plan
            Commission 2293 N. Main
            Crown Point, IN 46307                               1,592.50                 NA             NA            0.00


            Lakefront Medical Assoc
            4700 N. Marine Dr. Chicago,
            IL 60640                                              112.78                 NA             NA            0.00


            Larson Engineering, Inc. 3524
            Labore Rd. White Bear Lake,
            MN 55110-5126                                       1,905.00                 NA             NA            0.00


            Lettuce Enterain You 5419 N.
            Sheridan Rd. Chicago, IL
            60640                                                 330.07                 NA             NA            0.00


            Liberty Technology Advisors,
            LLC c/o Ft. Sheridan Group,
            LLC 3535 Patten Road, Suite
            8A Highland Park, IL 60035                         54,670.00                 NA             NA            0.00


            Litetronics 4101 W. 123rd
            Street Alsip, IL 60803                                261.73                 NA             NA            0.00




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                                                          SCHEDULED          ASSERTED          CLAIMS
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                                                           (from Form      (from Proofs of    ALLOWED
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                                                               6F)             Claim)

            MOR PMC Carol Stream, IL
            60122                                               2,249.62                 NA             NA            0.00


            Manuel Molina 478 W.
            Myrick Ave. Addison, IL
            60101                                                 325.00                 NA             NA            0.00


            Mark Richardson 11 Lotus Ct.
            Greenville, SC 29609                                   44.74                 NA             NA            0.00


            Max's of Skokie 120 E. Grand
            Avenue San Francisco, CA
            94080                                               3,532.00                 NA             NA            0.00


            McGraw Hill Construction
            7625 Collection Center Drive
            Chicago, IL 60693-0076                                448.75                 NA             NA            0.00


            Mega Vision Systems, Inc.
            2000 Wyatt Drive #6 Santa
            Clara, CA 95054                                        25.00                 NA             NA            0.00


            Mid-West Sign Supply Co.
            5521 N. Lynch Ave. Chicago,
            IL 60630                                                0.00                 NA             NA            0.00


            Mid-West Sign Supply Co.
            5521 N. Lynch Ave. Chicago,
            IL 60630                                            1,345.28                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                   TRAN.                                                        CLAIMS PAID
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                                                 CODE
                                                               6F)              Claim)

            Midwest Aerial Service 4910
            W. Wilshire Blvd Country
            Club Hills, IL 60478                                 1,125.00                 NA             NA            0.00


            Midwest Manufacturing &
            Dist. 6025 N. Keystone Ave.
            Chicago, IL 60646-5209                                 632.00                 NA             NA            0.00


            Midwest Orthopaedics at Rush
            Insurance Payments Dept
            4559 Carol Stream, IL 60122-
            4559                                                 1,847.40                 NA             NA            0.00


            Midwest Sign & Lighting
            4910 W Wilshire Blvd
            Country Club Hills, IL 60478                        15,424.45                 NA             NA            0.00


            Midwest Time Recorder Inc.
            7964 S. Madison St. Burr
            Ridge, IL 60521-5806                                   254.00                 NA             NA            0.00


            Milliman, Inc. 71 South
            Wacker Drive Chicago, IL
            60606                                               30,394.00                 NA             NA            0.00


            Morgan Stanley Bank, N.A.
            One Utah Center 201 S. Main
            St., 5th Floor Salt Lake City,
            UT 84111                                         6,528,000.00                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
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                                                 CODE
                                                               6F)             Claim)

            Mount Prospect Chamber of
            Commerce 662 E. Northwest
            Highway Mount Prospect, IL
            60056                                               1,545.00                 NA             NA            0.00


            Mouser Electronics Inc. PO
            Box 99319 Fort Worth, TX
            76199-0319                                            127.72                 NA             NA            0.00


            Mulroy Demolition &
            Excavation LLC 6820 N.
            Kostner Ave. Lincolnwood, IL
            60712                                               2,400.00                 NA             NA            0.00


            N. Glantz & Son PO Box
            856300 Louisville, KY 40285-
            6300                                                   53.18                 NA             NA            0.00


            Napleton 6140 N. Western
            Ave. Chicago, IL 60659                             56,500.00                 NA             NA            0.00


            Napleton 6140 N. Western
            Ave. Chicago, IL 60659                             91,570.00                 NA             NA            0.00


            National Guardian Life
            Insurance PO Box 1191
            Madison, WI 53701-1191                                205.11                 NA             NA            0.00


            Neopost Inc. PO Box 45800
            San Francisco, CA 94145-
            0800                                                3,389.67                 NA             NA            0.00




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                                                 CODE
                                                               6F)             Claim)

            New York State Sales Tax PO
            Box 15169 Albany, NY
            12212-5169                                            343.62                 NA             NA            0.00


            Newark Inone PO Box 94151
            Palatine, IL 60094-4151                             2,397.32                 NA             NA            0.00


            Nick Sandoval 451 Kingston
            Ct. Mount Prospect, IL 60056                           67.55                 NA             NA            0.00


            Nicor Gas PO box 0632
            Aurora, IL 60507-0632                              16,016.51                 NA             NA            0.00


            Northshore University Health
            Chicago, IL 60678                                     219.50                 NA             NA            0.00


            Northwest Ford & Sterling
            Truck Cen 4000 Mannheim
            Rd Franklin Park, IL 60131                             29.99                 NA             NA            0.00


            O'Hare Towing Service 2139
            N. Mannheim Rd.
            Northlake,IL 60164                                      0.00                 NA             NA            0.00


            O'Hare Towing Service 2139
            N. Mannheim Rd.
            Northlake,IL 60164                                  1,054.10                 NA             NA            0.00


            Oak Forest Bowl 15240 S.
            Cicero Ave. Oak Forest, IL
            60452                                                 300.00                 NA             NA            0.00




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                                                               6F)             Claim)

            Oaklawn Radiology Imaging
            Cons 71 W 156th Street
            Harvey, IL 60426                                       64.00                 NA             NA            0.00


            Office Max 75 Remittance Dr.
            Chicago, IL 60675-2698                                246.68                 NA             NA            0.00


            Orthopaedic & Rehab Center
            PO Box 811 Wilmette, IL
            60091                                               3,481.87                 NA             NA            0.00


            PMI Diagnostic Imaging 7600
            W. College Dr. Palos Heights,
            IL 60463                                              527.15                 NA             NA            0.00


            Pancor Construction &
            Development 2175 Point
            Blvd. Elgin, IL 60123                              78,355.00                 NA             NA            0.00


            Park District of Oak Park 218
            Madison Oak Park, IL 60302                          2,682.10                 NA             NA            0.00


            Physicians Urgent Care 1000
            E. Riverside Blvd. Loves
            Park, IL 61111                                        210.00                 NA             NA            0.00


            Plante Moran, PLCC 600 E.
            Front St., Suite 300 Traverse
            City, MI 49686                                     27,922.00                 NA             NA            0.00




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                                                               6F)             Claim)

            Portable John Inc. 1414 Canal
            St. Lockport, IL 60441                                 50.58                 NA             NA            0.00


            Postmaster 300 W. Central
            Rd. Mount Prospect, IL
            60056-2470                                            185.00                 NA             NA            0.00


            Power Equip Leasing Co. 605
            Anderson Drive Romeoville,
            IL 60446                                              190.00                 NA             NA            0.00


            Progressive Business Publ.
            370 Technology Drive
            Malvern, PA 19355                                     255.60                 NA             NA            0.00


            Progressive Systems Network
            1150 S. Clinton Street
            Chicago, IL 60607-4434                                299.00                 NA             NA            0.00


            Quantum Sign Corp. 693
            Heartland Drive Sugar Grove,
            IL 60554                                           39,832.90                 NA             NA            0.00


            RCG-KC Hotel LLC 11832
            NW Plaza CIR Kansas City,
            MO 64153                                              120.00                 NA             NA            0.00


            Rafael Bonilla 4037 N. Long
            Ave. Chicago, IL 60641                                  4.43                 NA             NA            0.00




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                                                 CODE
                                                               6F)              Claim)

            Record Copy Services 30 N.
            LaSalle St. Chicago, IL 60602                           99.60                 NA             NA            0.00


            Reliable Electric Products 309
            Sam Rayburn Pkwy Lenoir
            City, TN 37771                                         315.55                 NA             NA            0.00


            Republic Services PO Box
            9001154 Louisville, KY
            40290-1154                                             236.68                 NA             NA            0.00


            Rice Engineering 105 School
            Creek Trail Luxemburg, WI
            54217                                                1,050.00                 NA             NA            0.00


            Rising Medical Solutions, Inc.
            325 N. LaSalle Street Ste 475
            Chicago, IL 60610                                      953.18                 NA             NA            0.00


            Robert B. Flannery Brothers'
            Trust                                            1,571,236.00                 NA             NA            0.00


            Robert B. Flannery Jr. 451
            Kingston Court Mount
            Prospect, IL 60056                                172,536.00                  NA             NA            0.00


            Robert B. Flannery Jr. 451
            Kingston Court Mount
            Prospect, IL 60056                                172,526.00                  NA             NA            0.00




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            Robert B. Flannery Life
            Insurance Trust                                  1,536,035.00                 NA             NA            0.00


            Robert B. Flannery, Sr.
            W4366 Basswood Dr. Lake
            Geneva, WI 53147                                 6,886,214.00                 NA             NA            0.00


            Robert B. Flannery, Sr.
            W4366 Basswood Dr. Lake
            Geneva, WI 53147                                 6,528,000.00                 NA             NA            0.00


            Robert B. Flannery, Sr.
            W4366 Basswood Dr. Lake
            Geneva, WI 53147                                 3,778,943.00                 NA             NA            0.00


            Robert-James & Assoc, Inc.
            12255 W 187th Street
            Mokena, IL 60448-9737                                  318.50                 NA             NA            0.00


            SMG Security Systems, Inc.
            120 King Street Elk Grove
            Village, IL 60007                                    4,536.00                 NA             NA            0.00


            Samtec 3837 Reliable Pkwy
            Chicago, IL 60686-0038                                  72.01                 NA             NA            0.00


            Savaglio Bros.,, Inc. 6020 N.
            Kostner Chicago, IL 60646                              584.42                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
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            Second City Financial 9124
            Terminal Ave. Skokie, IL
            60077                                              11,382.04                 NA             NA            0.00


            Secretary of State - California
            1500 11th Street Sacramento,
            CA 95814                                               78.00                 NA             NA            0.00


            Sentinel Technologies 2550
            Warrenville Rd. Downers
            Grove, IL 60515                                    25,521.00                 NA             NA            0.00


            Sentinel Technologies 2550
            Warrenville Rd. Downers
            Grove, IL 60515                                         0.00                 NA             NA            0.00


            Seyfarth Shaw LLP 131 S.
            Dearborn St., Suite 2400
            Chicago, IL 60603                                  26,053.09                 NA             NA            0.00


            Seyfarth Shaw LLP 131 S.
            Dearborn St., Suite 2400
            Chicago, IL 60603                                       0.00                 NA             NA            0.00


            Sheet Metal Workers Ntl.
            Pens. Fund Benefit Funds
            Suite 500 601 N. Fairfax St.
            Alexandria, VA 22314                              857,862.00                 NA             NA            0.00




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                                                 CODE
                                                               6F)             Claim)

            Southwest-Spring 3863 W.
            Columbus Ave. Chicago, IL
            60652                                               1,067.31                 NA             NA            0.00


            Sports Business Journal 120
            West Morehead St. Suite 310
            Charlotte, NC 28202                                   234.00                 NA             NA            0.00


            St. Mary of Nazareth 2233
            West Division Street Chicago,
            IL 60622                                              953.80                 NA             NA            0.00


            Stamost & Trucco LLP One
            E. Wacker Dr. Chicago, IL
            60601                                               6,965.15                 NA             NA            0.00


            Standard Life Insurance PO
            Box 5676 Portland, OR
            97228-5676                                             74.00                 NA             NA            0.00


            State Board of Equalization
            Sales & Use Tax Processing
            PO Box 188268 Sacramento,
            CA 95818-8268                                       1,573.00                 NA             NA            0.00


            State of Arizona 100 N 15th
            Ave. Phoenix, AZ 85007                                 45.00                 NA             NA            0.00


            Sunstar 1300 Abbott Dr.
            Elgin, IL 60123                                       653.00                 NA             NA            0.00




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            Susan Abraham 1821 N 24th
            Ave Melrose Park, IL 60160                              1.83                 NA             NA            0.00


            TRI-Mag LLC PO Box
            343925 Milwaukee, WI
            53234-3925                                          2,995.66                 NA             NA            0.00


            Technology with Silicones
            Inc. PO Box 631 Suite 1
            Mechanicville, NY 12118                             2,275.50                 NA             NA            0.00


            The Messina Group 200 S.
            Prospect Park Ridge, IL 60068                       9,792.00                 NA             NA            0.00


            The Talent Connection 106
            West Calendar Avenue #206
            La Grange, IL 60525                                 1,240.00                 NA             NA            0.00


            Thomas M. Dore 6829 N.
            Wildwood Chicago, IL 60646                         20,778.60                 NA             NA            0.00


            Thomas Wood                                         1,630.48                 NA             NA            0.00


            Tiger Direct 7795 W. Flagler
            Street Miami, FL 33144-2367                            72.39                 NA             NA            0.00


            Town of Merrillville 7820
            Broadway Ave. Merrillville,
            IN 46410                                               14.00                 NA             NA            0.00


            Town of Munster 1005 Ridge
            Road Munster, IN 46321                                 25.00                 NA             NA            0.00




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                                                 CODE
                                                               6F)             Claim)

            Trans Chicago Truck Group
            776 N York St Elmhurst, IL
            60126                                                 750.79                 NA             NA            0.00


            Transworld Systems, Inc. 25
            Northwest Point Blvd Elk
            Grove, IL 60007                                       976.17                 NA             NA            0.00


            Travelers Casualty & Surety
            Company of America One
            Tower Square Hartford, CT
            06183                                                 570.00                 NA             NA            0.00


            Travelers Insurance PO Box
            3556 Orlando, FL 32802                             53,000.00                 NA             NA            0.00


            Tribune Interactive - TRG
            14891 Collections Center
            Drive Chicago, IL 60693-
            0148                                                  758.00                 NA             NA            0.00


            True Painters and Remodelers
            3139 W Pershing Rd Chicago,
            IL 60632                                            2,640.00                 NA             NA            0.00


            Twin Rinks Ice Pavilion 1500
            Abbott Ct. Buffalo Grove, IL
            60089                                               1,014.00                 NA             NA            0.00




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                                                               6F)             Claim)

            UPS Supply Chain Solutions
            28013 Network Place
            Chicago, IL 60673-1280                                 87.72                 NA             NA            0.00


            Uline Shipping Supply PO
            Box 88741 Chicago, IL
            60680-1741                                            216.39                 NA             NA            0.00


            Underwriters Laboratories 75
            Remittance Dr. Chicago, IL
            60675-1524                                          1,733.00                 NA             NA            0.00


            United Parcel Service
            Lockbox 577 Carol Stream, IL
            60132-0577                                          3,174.24                 NA             NA            0.00


            United Rentals (North Amer)
            Inc. PO Box 100711 Atlanta,
            GA 30384-0711                                       5,000.00                 NA             NA            0.00


            United Sign Corp PO Box
            300228 Kansas City, MO
            64130                                               1,898.43                 NA             NA            0.00


            UnitedHealth Insurance
            Company Dept CH 10151
            Palatine, IL 60055-0151                             5,514.80                 NA             NA            0.00


            Verizon Wireless PO Box
            25505 Lehigh Valley, PA
            18002-5505                                          1,527.67                 NA             NA            0.00




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                                                           (from Form      (from Proofs of    ALLOWED
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                                                               6F)             Claim)

            Victoria Supply / Top Bulb
            Co. 4281 Express Lane
            Sarasota, FL 34238                                    210.90                 NA             NA            0.00


            Villa Oaks LLC 2015 Hidden
            Ridge Lane Highland Park, IL
            60035                                               3,103.86                 NA             NA            0.00


            Village of Buffalo Grove 50
            Raupp Blvd. Buffalo Grove,
            IL 60089                                              115.33                 NA             NA            0.00


            Village of Deerfield 850
            Waukegan Rd. Deerfield, IL
            60015                                                 913.50                 NA             NA            0.00


            Village of Downers Grove
            801 Burlington Ave. Downers
            Grove, IL 60515                                       577.00                 NA             NA            0.00


            Village of Glencoe 675
            Village Court Glencoe, IL
            60022                                                 200.00                 NA             NA            0.00


            Village of Glenview 1225
            Waukegan Rd Glenview, IL
            60025                                                 185.00                 NA             NA            0.00


            Village of Hoffman Estates
            1900 Hassell Road Hoffman
            Estates, IL 60169                                     230.00                 NA             NA            0.00




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            Village of Northbrook 1225
            Cedar Lane Northbrook, IL
            60062                                                 400.00                 NA             NA            0.00


            Village of Oak Brook 1200
            Oak Brook Rd. Oak Brook, IL
            60523                                                 402.00                 NA             NA            0.00


            Village of Orland Park 14700
            S Ravinia Ave. Orland Park,
            IL 60462                                              285.00                 NA             NA            0.00


            Village of Palatine 200 E
            Wood St. Palatine, IL 60067                            53.00                 NA             NA            0.00


            Village of Rosemont 9501 W.
            Devon Ave. Des Plaines, IL
            60018                                              94,602.39                 NA             NA            0.00


            Village of Skokie 7300 Niles
            Center Road Skokie, IL 60077                           75.00                 NA             NA            0.00


            Village of Tinley Park 16250
            S Oak Park Ave. Tinley Park,
            IL 60477                                               50.00                 NA             NA            0.00


            Vorys, Sater, Seymour and
            Pease LLP 1909 K Street NW
            Suite 900 Washington, DC
            20006                                              13,968.96                 NA             NA            0.00




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                                                               6F)             Claim)

            Wage Works PO Box 45772
            San Francisco, CA 94145-
            0772                                                  805.98                 NA             NA            0.00


            Wayne Electric Co. 3162 N.
            Elston Ave. Chicago, IL
            60618                                                 414.00                 NA             NA            0.00


            We'll Clean III 1520 N
            Halsted Chicago, IL 60610                             123.07                 NA             NA            0.00


            Wellington Radiology 39006
            Treasury Center Chicago, IL
            60694-9000                                             36.00                 NA             NA            0.00


            Wendell Building
            Maintenance & Construction
            2942 S Cicero Cicero, IL
            60804                                              14,904.00                 NA             NA            0.00


            White Brothers Trucking PO
            Box 82 Wasco, IL 60183                             12,301.50                 NA             NA            0.00


            Whole Foods Market 3300 N.
            Ashland Ave. Chicago, IL
            60657                                               3,487.00                 NA             NA            0.00


            Wilmette Huerbinger Drug
            Co. 333 Ridge Rd. Wilmette,
            IL 60091                                              337.80                 NA             NA            0.00




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                                                 CODE
                                                                6F)             Claim)

            Wine Sergi & Co., LLC 1000
            E. Warrenville Rd. Naperville,
            IL 60563                                                68.00                 NA              NA              0.00


            YRC Inc 10990 Roe Ave
            Overland Park, KS 66211                              2,650.95                 NA              NA              0.00


            ACCOUNTING
000017      PRINCIPALS, INC                     7100-000             NA            11,983.79       11,983.79            360.05


            ACTIVE ELECTRICAL
000005      SUPPLY COMPANY                      7100-000             NA            11,729.24       11,729.24            352.40


000020      ALL RIGHT SIGN, INC.                7100-000             NA            62,802.51       62,802.51          1,886.86


            AMERICAN OPTO PLUS
000036      LED CORP                            7100-000             NA           264,385.34      264,385.34          7,943.31


000035      AT&T CORP                           7100-000             NA              6,021.26             0.00            0.00


            AT&T LONG DISTANCE,
000034      LLC                                 7100-000             NA                263.36             0.00            0.00


000029      AVAYA INC                           7100-000             NA              1,000.00       1,000.00              0.00


            BANKDIRECT CAPITAL
000003      FINANCE                             7100-000             NA              4,155.85       4,155.85            124.86


            BARRINGTON BANK AND
000072      TRUST COMPANY                       7100-000             NA            22,555.80       22,555.80            677.68


000014      CABOT II - IL1M08, LLC              7100-000             NA           377,972.36      377,972.36         11,355.97




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

            CBS TELEVISION
000037      STUDIOS                             7100-000             NA          33,146.45       33,146.45            995.87


000001      CERIDIAN                            7100-000             NA            1,050.00       1,050.00             31.55


000002      CIT FINANCE LLC                     7100-000             NA          60,953.82       60,953.82          1,831.32


000030      COLORIMAGE INC.                     7100-000             NA            5,220.00       5,220.00            156.83


            COMMONWEALTH
000006      EDISON COMPANY                      7100-000             NA          34,089.87       34,089.87          1,024.21


            COX PROFESSIONAL
000004      RESOURCES, INC.                     7100-000             NA            9,856.00       9,856.00            296.12


            CT CORPORATION
000022      SYSTEM                              7100-000             NA            2,158.40       2,158.40             64.85


000062A     DORE, THOMAS M.                     7100-000             NA          80,922.24       80,922.24          1,517.10


000062B     DORE, THOMAS M.                     7100-000             NA          20,978.60       20,978.60            630.29


            ELECTRICAL
            CONTRACTORS ASSN.
000048      AND LO                              7100-000             NA         393,747.00      393,747.00         11,829.91


            FIRST INSURANCE
000063A     FUNDING CORP.                       7100-000             NA                0.00             0.00            0.00


000021      FRANCHISE TAX BOARD                 7100-000             NA              537.00         537.00             16.13




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

              HERSHEY
              ENTERTAINMENT &
000042        RESORTS COM                         7100-000             NA          81,510.00       81,510.00          2,448.92


              HERSHEY
              ENTERTAINMENT &
000043        RESORTS COM                         7100-000             NA          81,510.00              0.00            0.00


000082        HONG SONG                           7100-000             NA          33,633.74       33,633.74            630.55


              ILLINOIS BELL
000007        TELEPHONE COMPANY                   7100-000             NA            2,124.71       2,124.71             63.84


              ILLINOIS DEPARTMENT
AUTO          OF REVENUE                          7100-000             NA                 NA          235.11            235.11


              INTERNAL REVENUE
AUTO          SERVICE                             7100-000             NA                 NA        1,914.08          1,550.75


              IRON MOUNTAIN
              INFORMATION
000071        MANAGEMEN                           7100-000             NA            2,974.82       2,974.82             89.38


000009        JOSEPHINE BERRY TRUST 7100-000                           NA         613,607.39      613,607.39         18,435.49


              LIBERTY TECHNOLOGY
000039        ADVISORS, INC.                      7100-000             NA          68,850.00       68,850.00          2,068.56


000060B       MARTENS, WILLARD D.                 7100-000             NA          40,040.00       40,040.00            750.66


              MARY B. FLANNERY
000008        TRUST                               7100-000             NA         894,603.09      894,603.09         26,877.85




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

000031      MESSINA GROUP, INC.                 7100-000             NA          13,260.00       13,260.00            398.39


            MIDWEST SIGN &
000032      LIGHTING, INC.                      7100-000             NA          14,932.35       14,932.35            448.63


            MOSAIC CONSTRUCTION,
000073      LLC                                 7100-000             NA          36,710.81       36,710.81          1,102.95


            OHIO DEPARTMENT OF
000027B     TAXATION                            7100-000             NA            8,812.52       8,812.52            264.77


            PENSION BENEFIT
000045      GUARANTY CORPORATIO 7100-000                             NA         251,082.00      251,082.00          7,543.62


            PENSION BENEFIT
000046      GUARANTY CORPORATIO 7100-000                             NA         546,960.00      546,960.00         16,433.11


            PENSION BENEFIT
000047B     GUARANTY CORPORATIO 7100-000                             NA          82,500.00       82,500.00          2,478.67


000044      PUTLAK, GREGORY                     7100-000             NA          27,887.28        3,491.00             65.46


            ROBERT B. FLANNERY,
000065      JR.                                 7100-000             NA                0.00             0.00            0.00


            ROBERT B. FLANNERY,
000068      SR.                                 7100-000             NA                0.00             0.00            0.00


            ROBERT FLANNERY
000011      TRUST                               7100-000             NA                0.00             0.00            0.00




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

            ROBERT FLANNERY
000012      TRUST                               7100-000             NA                0.00             0.00            0.00


            SOUTH SUBURBAN
000026      COLLEGE                             7100-000             NA          24,757.50        24,757.50           743.83


            STATE BOARD OF
000078B     EQUALIZATION                        7100-000             NA              370.00          370.00            11.12


            THE PIPE FITTERS LOCAL
000033      597 TRAINING                        7100-000             NA          67,992.00        67,992.00         2,042.78


            THOMAS F. FLANNERY
000010      INSURANCE TRUST                     7100-000             NA       2,470,670.35     2,470,670.35        74,229.91


            TWIN RINKS ICE
000028      PAVILION, INC.                      7100-000             NA            1,014.00        1,014.00            30.46


            U.S. BANKRUPTCY
            COURT                               7100-000             NA                0.00           30.04            30.04


            WESLEY UNITED
000074      METHODIST CHURCH                    7100-000             NA          27,446.00        27,446.00           824.60


            AMERICAN EXPRESS
000076      TRAVEL RELATED SER                  7200-000             NA                0.00             0.00            0.00


            UNDERWRITERS
000077      LABORATORIES                        7200-000             NA            1,733.00        1,733.00             0.00


            ILLINOIS DEPARTMENT
000023B     OF REVENUE                          7300-000             NA              668.12          668.12             0.00




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

            STATE BOARD OF
000078C     EQUALIZATION                        7300-000               NA               468.00           468.00             0.00


            STATE OF FLORIDA -
000061B     DEPARTMENT OF RE                    7300-000               NA                50.00            50.00             0.00

TOTAL GENERAL UNSECURED                                    $ 30,955,100.89     $ 6,803,845.76    $ 6,691,684.90     $ 200,894.76
CLAIMS




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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                 Page:       1
                                                                                               ASSET CASES                                                                                              Exhibit 8
Case No:             14-40855       DRC      Judge: DONALD R. CASSLING                                                           Trustee Name:                      Phillip D. Levey
Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                          Date Filed (f) or Converted (c):    03/17/15 (c)
                                                                                                                                341(a) Meeting Date:                05/01/15
For Period Ending: 04/03/23                                                                                                     Claims Bar Date:                    06/24/15



                                       1                                          2                        3                         4                         5                                  6
                                                                                                  Estimated Net Value
                                                                              Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                              Unscheduled        Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                     Values              and Other Costs)          OA=554(a) Abandon             the Estate

 1. Cash                                                                          1,560.00                           0.00                                                0.00                  FA
 2. Restricted Cash (CD-State of Illinois)                                      200,000.00                     200,000.00                                          186,613.69                  FA
 3. Security Deposit with Commonwealth Edison                                    38,166.00                           0.00                                                0.00                  FA
 4. 2000 Lexus (u)                                                                Unknown                        7,000.00                                            7,000.00                  FA
 5. 2000 Lexus (u)                                                                Unknown                        2,750.00                                            2,750.00                  FA
 6. 2004 Toyota Sequoia 4WD (u)                                                   Unknown                        6,000.00                                            6,000.00                  FA
 7. 1997 Ford F150 (u)                                                            Unknown                            0.00                                                0.00                  FA
 8. 1998 Ford Light F150 (u)                                                      Unknown                         750.00                                              750.00                   FA
 9. 2000 Ford F150 (u)                                                            Unknown                         750.00                                              750.00                   FA
 10. 2001 Ford F350 Super Duty (u)                                                Unknown                        1,250.00                                            1,250.00                  FA
 11. 2002 Ford F250 (u)                                                           Unknown                        1,150.00                                            1,150.00                  FA
 12. 2002 JB ENT Trailer (u)                                                      Unknown                        1,500.00                                            1,500.00                  FA
 13. 1994 Ford F350 Super Duty3 (u)                                               Unknown                        5,000.00                                            5,000.00                  FA
 14. 1999 Ford F350 Super Duty (u)                                                Unknown                        5,750.00                                            5,750.00                  FA
 15. 1999 Ford F350 Super Duty (u)                                                Unknown                        1,250.00                                            1,250.00                  FA
 16. 1999 Ford F350 Super Duty (u)                                                Unknown                        3,500.00                                            3,500.00                  FA
 17. 1999 Ford F450 Super Duty (u)                                                Unknown                        7,250.00                                            7,250.00                  FA
 18. 1997 Ford Utility Boom (u)                                                   Unknown                        3,000.00                                            3,000.00                  FA
 19. 1998 Ford Truck F800 (u)                                                     Unknown                        2,000.00                                            2,000.00                  FA
 20. 1998 Ford Chasis F800 (u)                                                    Unknown                        3,000.00                                            3,000.00                  FA
 21. 1998 Ford Truck F800 (u)                                                     Unknown                        8,500.00                                            8,500.00                  FA
 22. 1998 Ford F800 (u)                                                           Unknown                        2,000.00                                            2,000.00                  FA
 23. 1998 Ford F800 (u)                                                           Unknown                        2,000.00                                            2,000.00                  FA
 24. 1998 Ford Truck F800 (u)                                                     Unknown                        2,000.00                                            2,000.00                  FA
 25. 1999 Ford F800 (u)                                                           Unknown                        2,000.00                                            2,000.00                  FA
 26. 1998 Ford F800 Truck (u)                                                     Unknown                        2,000.00                                            2,000.00                  FA



LFORM1                                                                                                                                                                                                        Ver: 22.07g
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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       2
                                                                                                 ASSET CASES                                                                                              Exhibit 8
Case No:             14-40855        DRC      Judge: DONALD R. CASSLING                                                            Trustee Name:                      Phillip D. Levey
Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                            Date Filed (f) or Converted (c):    03/17/15 (c)
                                                                                                                                  341(a) Meeting Date:                05/01/15
                                                                                                                                  Claims Bar Date:                    06/24/15



                                          1                                        2                         3                         4                         5                                  6
                                                                                                    Estimated Net Value
                                                                               Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                               Asset Description                              Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                   (Scheduled and Unscheduled (u) Property)                     Values               and Other Costs)          OA=554(a) Abandon             the Estate

 27. 1998 Ford Truck F800 (u)                                                      Unknown                         2,000.00                                            2,000.00                  FA
 28. 2000 Ford F650 (u)                                                            Unknown                        10,000.00                                           10,000.00                  FA
 29. 2001 Sterling L9500 Truck w/Boom (u)                                          Unknown                         8,000.00                                            8,000.00                  FA
 30. Property, plant and equipment                                               739,400.00                      206,870.73                                          213,832.35                  FA
 31. Inventory                                                                  1,300,000.00                       6,000.00                                            6,000.00                  FA
 32. DIP Bank Account (u)                                                          Unknown                       169,337.70                                          169,337.70                  FA
 33. ACCOUNTS RECEIVABLE                                                         686,197.00                       18,418.52                                           18,418.52                  FA
 34. Contract Payments (u)                                                              0.00                      12,447.86                                           12,447.86                  FA
 35. Refunds (u)                                                                        0.00                        250.00                                              250.00                   FA
 36. Trustee v. All Right Sign, Inc. - Preference (u)                                   0.00                       8,000.00                                            8,000.00                  FA
 37. Trustee v. Sheet Metal Workers-Preference (u)                                      0.00                      13,000.00                                           13,000.00                  FA
 38. Trustee v. PanCor - Preference (u)                                                 0.00                       7,200.00                                            7,200.00                  FA
 39. Trustee v. First Insurance Funding Corp. (u)                                       0.00                       9,000.00                                            9,000.00                  FA
 40. Trustee v. Napleton Automotive Group (u)                                           0.00                      20,000.00                                           20,000.00                  FA
 41. Trustee v. Village of Rosemont (u)                                                 0.00                      15,000.00                                           15,000.00                  FA
 42. Trustee v. BankDirect Capital Finance (u)                                          0.00                       5,500.00                                            5,500.00                  FA
 43. Trustee v. Verizon Wireless (u)                                                    0.00                       5,300.00                                            5,300.00                  FA
 44. Trustee v. Stamos & Trucco LLP (u)                                                 0.00                      11,000.00                                           11,000.00                  FA
 45. Trustee v. Barrington Bank (u)                                                     0.00                      12,500.00                                           12,500.00                  FA
 46. Trustee v. American Express (u)                                                    0.00                      90,000.00                                           90,000.00                  FA
 47. Trustee v. Travelers Insurance (u)                                                 0.00                       9,000.00                                            9,000.00                  FA
 48. Trustee v. Flannery, Sr. & Flannery III (u)                                        0.00                      35,000.00                                           35,000.00                  FA
 49. Trustee v. AT&T (u)                                                                0.00                       2,000.00                                            2,000.00                  FA
 50. 1999 Ford 350 Super Duty (u)                                                       0.00                       9,000.00                                            9,000.00                  FA
     Asset added per Amended Schedules filed 1-9-15.
 51. Civil Penalty Refund - United States Treasury (u)                                  0.00                       2,418.34                                                0.00                  FA



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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:        3
                                                                                                            ASSET CASES                                                                                                   Exhibit 8
Case No:              14-40855      DRC     Judge: DONALD R. CASSLING                                                                           Trustee Name:                       Phillip D. Levey
Case Name:            WHITE WAY SIGN & MAINTENANCE CO.,                                                                                        Date Filed (f) or Converted (c):     03/17/15 (c)
                                                                                                                                               341(a) Meeting Date:                 05/01/15
                                                                                                                                               Claims Bar Date:                     06/24/15



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate


                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $2,965,323.00                         $957,643.15                                          $948,800.12                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Initial Projected Date of Final Report (TFR): 07/31/18           Current Projected Date of Final Report (TFR): 02/28/22


   __________________________________________ Date: __________________
   Phillip D. Levey




LFORM1                                                                                                                                                                                                                           Ver: 22.07g
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit 9
  Case No:             14-40855 -DRC                                                                                                Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                            Bank Name:                       ASSOCIATED BANK
                                                                                                                                    Account Number / CD #:           *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                       Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                               3                                                  4                                                  5                     6                   7
    Transaction       Check or                                                                                                              Uniform                                                   Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction                 Tran. Code      Deposits ($)       Disbursements ($)        Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                   0.00
          04/23/15       32       White Way Sign & Maintenance Co.                Turnover by Debtor                                       1290-000              24,835.55                                    24,835.55
          05/07/15                ASSOCIATED BANK                                 BANK SERVICE FEE                                         2600-000                                         10.00             24,825.55
          05/08/15       33       Navy Pier, Inc.                                 ACCOUNTS RECEIVABLE                                      1121-000                  788.30                                   25,613.85
          05/15/15     010001     Willard Martens                                 Other Chapter 7 Expenses                                 2990-000                                       9,000.00            16,613.85
                                  2404 Litchfield Ct.                             Payment for services rendered post-petition by
                                  Naperville, IL 60565                            Debtor's former CFO per Order dated May 12, 2015.
          05/15/15     010002     Elizabeth Pawlak                                Other Chapter 7 Expenses                             2990-000                                            456.50             16,157.35
                                  718 Slingerland Drive                           Payment for services rendered post-petition by
                                  Schaumburg, IL 60193                            debtor's former accounting clerk per Order dated May
                                                                                  12, 2015, for period March 25 thru May 7, 2015.
          06/02/15     010003     Elizabeth Pawlak                                Other Cha0pter 7 Expenses                            2990-000                                            792.00             15,365.35
                                  718 Slingerland Drive                           Payment for services rendered post-petition by
                                  Schaumburg, IL 60193                            debtor's former accounting clerk per Order dated May
                                                                                  12, 2015, for period May 12 thru May 29, 2015.
          06/04/15     010004     Village of Mount Prospect                       Post-Petition Utility Charge                             2410-000                                         60.22             15,305.13
                                  P.O. Box 4297                                   Water Charges for period 4/9/15 - 5/11/15 for 451
                                  Carol Stream, IL 60197-4297                     Kingston, Mt. Prospect, IL, per billing dated 5/15/15,
                                                                                  for post-petition occupancy in connection with
                                                                                  auction sale.

                                                                                  ACCOUNT NUMBER 5722-004
          06/05/15                ASSOCIATED BANK                                 BANK SERVICE FEE                                         2600-000                                         32.39             15,272.74
          06/09/15       32       White Way Sign & Maintenance Co.                Turnover                                                 1290-000              96,464.34                                111,737.08
                                  451 Kingston Court
                                  Mount Prospect, IL
          06/13/15     010005     Willard Martens                                 Other Chapter 7 Expenses                                 2990-000                                       9,955.00        101,782.08
                                  2404 Litchfield Ct.                             Payment for services rendered post-petition by
                                  Naperville, IL 60565                            Debtor's former CFO per Order dated May 12, 2015,
                                                                                  from May 4, 2015 through June 5, 2015.

                                                                                                                                    Page Subtotals              122,088.19                20,306.11
                                                                                                                                                                                                              Ver: 22.07g
LFORM24
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                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit 9
  Case No:             14-40855 -DRC                                                                                                   Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                               Bank Name:                       ASSOCIATED BANK
                                                                                                                                       Account Number / CD #:           *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                          Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                       Separate Bond (if applicable):


           1              2                                  3                                                   4                                                 5                     6                   7
    Transaction       Check or                                                                                                                  Uniform                                                  Account / CD
       Date           Reference                  Paid To / Received From                           Description Of Transaction                  Tran. Code     Deposits ($)       Disbursements ($)        Balance ($)
          06/13/15     010006     Elizabeth Pawlak                                   Other Chapter 7 Expenses                             2990-000                                            396.00         101,386.08
                                  718 Slingerland Dr.                                Payment for services rendered post-petition by
                                  Schaumburg, IL 60193                               debtor's former accounting clerk per Order dated May
                                                                                     12, 2015, for period June 1 thru June 4, 2015.
          06/13/15     010007     Two Star Recycling, Inc.                           Other Chapter 7 Expenses                                  2990-000                                       750.00         100,636.08
                                  Attn: Reyes Chavez                                 Removal and disposal of paper records.
                                  912 North Prater
                                  Melrose Park, IL 60164
          07/02/15    * NOTE *    Heath Industrial Auction Services, Inc.            Auction Proceeds                                                              303,270.73                                403,906.81
                                  508 West Brittany Drive                            Auction per Order 5-12-15. (Dkt. 117) Asset #50
                                  Arlington Heights, IL 60004                        listed on Amended Schedules filed 1-9-15 and is
                                                                                     therefore UTC Code 1229 while the remaining Assets
                                                                                     are scheduled and are therefore UTC Code 1129.
                                                                                     * NOTE * Properties 4, 5, 6, 8, 9, 10, 11, 12, 13, 14,
                                                                                     15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28,
                                                                                     29, 30, 31, 50
                                  HEATH INDUSTRIAL AUCTION SERVICES,                    Memo Amount:                 319,232.35                1229-000
                                                                                     Auction Proceeds
                                  HEATH INDUSTRIAL AUCTION SERVICES,                    Memo Amount:         (        15,961.62 )              3620-000
                                                                                     Auction Expenses
          07/07/15                ASSOCIATED BANK                                    BANK SERVICE FEE                                          2600-000                                       116.37         403,790.44
          07/23/15     010008     Willard Martens                                    Other Chapter 7 Expenses                                  2990-000                                      3,586.00        400,204.44
                                  2404 Litchfield Ct.                                Payment for services rendered post-petition by
                                  Naperville, IL 60565                               Debtor's former CFO per Order dated May 12, 2015,
                                                                                     from June 8, 2015 through June 26, 2015.
          08/04/15       34       Albert's Diamond Jewelers                          Contract Payment                                          1290-000                 361.62                               400,566.06
          08/04/15       34       Taylor Funeral Home, Ltd.                          Contract Payment                                          1290-000                  97.44                               400,663.50
          08/04/15       34       P.J.A., Inc.                                       Contract Payment                                          1290-000                  80.00                               400,743.50
          08/04/15       34       Percy Billings                                     Contract Payment                                          1290-000                 100.00                               400,843.50
          08/04/15       34       L&M Antioch Limited Partnership                    Contract Payment                                          1290-000                 377.90                               401,221.40

                                                                                                                                       Page Subtotals              304,287.69                 4,848.37
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LFORM24
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                                          Case 14-40855                Doc 395       Filed 04/06/23 Entered 04/06/23 08:18:29                           Desc Main
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                                                                             ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                           Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                       Bank Name:                         ASSOCIATED BANK
                                                                                                                               Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                  Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                                 3                                                 4                                            5                       6                   7
    Transaction       Check or                                                                                                        Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          08/04/15       34       Saint John Church - Baptist                         Contract Payment                               1290-000                     47.23                                401,268.63
          08/04/15       34       Ridge Funeral Home                                  Contract Payment                               1290-000                    109.19                                401,377.82
          08/04/15       34       Louis A. Weiss Memorial Hospital                    Contract Payment                               1290-000                    909.04                                402,286.86
          08/04/15       34       Memorial Missionary Baptist Church                  Contract Payment                               1290-000                    213.20                                402,500.06
          08/04/15       34       Doty Nash Funeral Home                              Contract Payment                               1290-000                    235.32                                402,735.38
          08/04/15       34       Gold Coast Auto Body, Inc.                          Contract Payment                               1290-000                    170.06                                402,905.44
          08/04/15       34       Navy Pier, Inc.                                     Contract Payment                               1290-000                   1,576.60                               404,482.04
          08/04/15       34       Gaylord India Restaurant Schaumburg                 Contract Payment                               1290-000                     77.46                                404,559.50
          08/04/15       34       Master Molded Products                              Contract Payment                               1290-000                    185.27                                404,744.77
          08/04/15       34       Jungle Gym Fitness Corp.                            Contract Payment                               1290-000                     89.92                                404,834.69
          08/04/15       34       Angelus Funeral Home LLC                            Contract Payment                               1290-000                     49.18                                404,883.87
          08/04/15       34       Wilshire Enterprises, Inc.                          Contract Payment                               1290-000                     96.48                                404,980.35
          08/04/15       34       First Northern Credit Union                         Contract Payment                               1290-000                     45.65                                405,026.00
          08/05/15       34       Village of South Elgin                              Contract Payment                               1290-000                    546.96                                405,572.96
          08/05/15       34       Ridge Funeral Home                                  Contract Payment                               1290-000                     37.19                                405,610.15
          08/05/15       34       Armand Lee & Company, Ltd.                          Contract Payment                               1290-000                     50.15                                405,660.30
          08/05/15       34       City of Des Plaines                                 Contract Payment                               1290-000                    143.34                                405,803.64
          08/05/15       34       Tribune Company                                     Contract Payment                               1290-000                     29.44                                405,833.08
          08/05/15       34       Tavern on Rush                                      Contract Payment                               1290-000                    199.37                                406,032.45
          08/05/15       34       Montini Catholic High School                        Contract Payment                               1290-000                     34.00                                406,066.45
          08/05/15       34       Pittsburgh Associates                               Contract Payment                               1290-000                   1,503.36                               407,569.81
          08/05/15       34       LaLuna Enterprises, Inc. d/b/a Erie Cafe            Contract Payment                               1290-000                    190.88                                407,760.69
          08/05/15       34       Little Company of Mary Hospital                     Contract Payment                               1290-000                    611.16                                408,371.85
          08/05/15       34       1516 North Orleans                                  Contract Payment                               1290-000                     39.78                                408,411.63
                                  Loft Development Corp.
          08/05/15       34       1650 W. Irving Park Rd.                             Contract Payment                               1290-000                     30.43                                408,442.06
                                  Loft Development Corp.
          08/05/15       34       Millward Brown, Inc.                                Contract Payment                               1290-000                    154.58                                408,596.64
          08/05/15       34       Tommy Nevins Naperville LLC                         Contract Payment                               1290-000                    191.52                                408,788.16

                                                                                                                               Page Subtotals                   7,566.76                  0.00
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                                           Case 14-40855               Doc 395    Filed 04/06/23 Entered 04/06/23 08:18:29                            Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             14-40855 -DRC                                                                                         Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                     Bank Name:                         ASSOCIATED BANK
                                                                                                                             Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                  3                                              4                                            5                       6                   7
     Transaction      Check or                                                                                                      Uniform                                                     Account / CD
        Date          Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          08/05/15       34       The Market Place Foodstore                       Contract Payment                                1290-000                    400.07                                409,188.23
          08/05/15       34       Interpublic Group                                Contract Payment                                1290-000                    421.50                                409,609.73
          08/07/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                2600-000                                          584.96          409,024.77
          08/16/15       34       South-EastAsia Center                            Contract Payment                                1290-000                    173.68                                409,198.45
                                  1134 W. Ainslie St.
                                  Chicago, IL 60640
          08/16/15       34       Lakeview East Cooperative                        Contract Payment                                1290-000                    240.00                                409,438.45
                                  Realty & Mortgage Co. as Agent
                                  1509 W. Berwyn Ave.-Suite 200
                                  Chicago, IL 60640
          08/16/15       34       Roosevelt Business Corporation                   Contract Payment                                1290-000                    107.39                                409,545.84
          08/16/15       34       Philliips Service Industries, Inc.               Contract Payments                               1290-000                    103.26                                409,649.10
          08/16/15       34       SKF USA, Inc.                                    Contract Payment                                1290-000                    162.84                                409,811.94
                                  890 Forty Foot Road
                                  P.O. Box 352
                                  Lansdale, PA
          08/16/15       34       SKF USA, Inc.                                    Contract Payment                                1290-000                    162.84                                409,974.78
                                  890 Forty Foot Road
                                  P.O. Box 352
                                  Lansdale, PA
 *        08/16/15       34       SKF USA, Inc.                                    Contract Payment                                1290-003                     34.00                                410,008.78
                                  890 Forty Foot Road
                                  P.O. Box 352
                                  Lansdale, PA
 *        08/16/15       34       SKF USA, Inc.                                    Contract Payment                                1290-003                     -34.00                               409,974.78
                                  890 Forty Foot Road                              Entered wrong name for payee.
                                  P.O. Box 352
                                  Lansdale, PA
          08/16/15       34       NBC Universal, LLC                               Contract Payment                                1290-000                    409.24                                410,384.02
                                  100 Universal City Plaza

                                                                                                                             Page Subtotals                   2,180.82                584.96
                                                                                                                                                                                                         Ver: 22.07g
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          UST Form 101-7-TDR (5/1/2011) (Page: 60)
                                          Case 14-40855                   Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                Desc Main
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-40855 -DRC                                                                                               Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                           Bank Name:                         ASSOCIATED BANK
                                                                                                                                   Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                      Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                 4                                                 5                       6                   7
    Transaction       Check or                                                                                                              Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction                Tran. Code     Deposits ($)         Disbursements ($)        Balance ($)
                                  Universal City, CA
          08/16/15       34       Montini Catholic High School                      Contract Payment                                       1290-000                   34.00                                410,418.02
                                  19 W 070 Suxteenth Street
                                  Lombard, IL 60148
          08/18/15       34       Renaissance O'Hare (Chicago ORD Hotel)            Contract Payment                                       1290-000                  772.34                                411,190.36
                                  1140 Reservoir Avenue
                                  Cranston, RI 02920
          08/18/15       32       BMO Harris Bank                                   Turnover By Debtor                                     1290-000             39,118.98                                  450,309.34
          08/18/15       32       BMO Harris Bank                                   Turnover By Debtor                                     1290-000                 6,237.95                               456,547.29
          08/18/15       32       BMO Harris Bank                                   Turnover By Debtor                                     1290-000                 1,895.60                               458,442.89
          08/18/15       32       BMO Harris Bank                                   Turnover By Debtor                                     1290-000                   92.57                                458,535.46
          08/25/15     010009     Willard Martens                                   Other Chapter 7 Expenses                               2990-000                                        5,822.50        452,712.96
                                  2404 Litchfield Ct.                               Balance for payment for services rendered
                                  Naperville, IL 60565                              post-petition by Debtor's former CFO per Order dated
                                                                                    May 12, 2015, from March 25, 2015 through April 3,
                                                                                    2015.
          09/02/15       34       Saint John Church-Baptist                         Contract Payment                                       1290-000                   47.23                                452,760.19
                                  4821-35 S. Michigan Ave.
                                  Chicago, IL
          09/02/15       34       Laird Technologies                                Contract Payment                                       1290-000                  126.02                                452,886.21
                                  3481 Rider Trail South
                                  Earth City, MO
          09/08/15                ASSOCIATED BANK                                   BANK SERVICE FEE                                       2600-000                                         639.37         452,246.84
          09/15/15       34       Illinois State Toll Highway Authority             Contract Payment                                       1290-000                  358.36                                452,605.20
                                  2700 Ogden Avenue
                                  Downers Grove, IL 60515
          09/21/15     010010     Willard D. Martens                                Other Chapter 7 Expenses                               3731-000                                         660.00         451,945.20
                                  2404 Litchfield Ct.                               Payment for services rendered post-petition by
                                  Naperville, IL 60565                              Debtor's former CFO per Order dated May 12, 2015,


                                                                                                                                   Page Subtotals               48,683.05                   7,121.87
                                                                                                                                                                                                               Ver: 22.07g
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                                          Case 14-40855                  Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-40855 -DRC                                                                                              Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                          Bank Name:                         ASSOCIATED BANK
                                                                                                                                  Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                                3                                                4                                                 5                       6                   7
    Transaction       Check or                                                                                                           Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                   from July 17, 2015 through July 23, 2015.
          09/24/15       34       Saint John Church-Baptist                        Contract Payment                                     1290-000                     47.23                                451,992.43
                                  4821-35 S. Michigan Avenue
                                  Chicago, IL 60615
          09/24/15       34       Brake Parts, Inc.                                Contract Payment                                     1290-000                     84.06                                452,076.49
                                  4400 Prime Parkway
                                  McHenry, IL 60050
          10/04/15       34       Trinity United Church of Christ                  Contract Payment                                     1290-000                    214.08                                452,290.57
                                  400 W. 95th St.
                                  Chicago, IL 60626
          10/07/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           651.02         451,639.55
          10/12/15       32       BMO Harris Bank                                  Turnover by Debtor                                   1290-000                    692.71                                452,332.26
          10/20/15     010011     Technology Support & Solutions, Inc.             Computer Consulting Services                         2990-000                                          6,542.04        445,790.22
                                  123 W. Madison Street-Suite 500                  Invoice No. 7554 paid pursuant Order dated May 26,
                                  Chicago, IL 60602                                2015.
          10/20/15     010012     Technology Support & Solutions, Inc.             Computer Consultant Services                         2990-000                                          1,115.80        444,674.42
                                  123 W. Madison Street-Suite 500                  Invoice No. 7557 paid pursuant Order dated May 26,
                                  Chicago, IL 60602                                2015.
          11/06/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           668.94         444,005.48
          11/10/15       33       Snyder & Associates, LLC                         Account Receivable                                   1121-000                     50.00                                444,055.48
                                  120 E. Ogden Ave.
                                  Hinsdale, IL
          11/10/15       33       DRX Distribution Management, Inc.                Account Receivable                                   1121-000                     25.34                                444,080.82
          12/07/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           638.87         443,441.95
          12/08/15     010013     Technology Support & Solutions, Inc.             Computer Hosting Fee                                 2990-000                                           250.00         443,191.95
                                  123 W. Madison Street - Suite 500                Monthly charges for 8/1/15 thru 12/31/15 at $50.00
                                  Chicago, IL 60602                                per month per Order dated May 26, 2015.
          12/31/15     010014     United States Treasury                           FORM 5330 PAYMENT                                    2990-000                                              0.34        443,191.61
                                                                                   FORM 5330


                                                                                                                                  Page Subtotals                   1,113.42                9,867.01
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                                          Case 14-40855                 Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                   Desc Main
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:             14-40855 -DRC                                                                                                Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                            Bank Name:                       ASSOCIATED BANK
                                                                                                                                    Account Number / CD #:           *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                       Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                 3                                                4                                                  5                       6                   7
     Transaction      Check or                                                                                                             Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction                Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                  SECTION 4975
          01/06/16     010015     Schred-it Chicago                               Records Destruction & Disposal                          2990-000                                          4,393.13        438,798.48
                                  3811 Rose Street                                Payment per Order dated November 10, 2015, re
                                  Schiller Park, IL 60176                         destruction and disposal of paper records of debtor.
          01/06/16     010016     Cabot II-IL1M08                                 Post-Conversion Use and Occupancy                       2410-000                                       86,466.69          352,331.79
                                                                                  Payment per Order dated November 10, 2015, re use
                                                                                  and occupancy of 451 Kingston, Mt. Prospect, IL,
                                                                                  following conversion to Chapter 7.
          01/06/16     010017     Willard Martens                                 Expense Reimbursement                               2990-000                                              1,466.77        350,865.02
                                  2404 Litchfield Court                           Payment per Order dated November 10, 2015, re
                                  Naperville, IL 60565                            reimbursement of payment of Intouch Contact Centers
                                                                                  for period March 1-31, 2015.
          01/08/16                ASSOCIATED BANK                                 BANK SERVICE FEE                                        2600-000                                           659.02         350,206.00
          02/05/16                ASSOCIATED BANK                                 BANK SERVICE FEE                                        2600-000                                           569.29         349,636.71
          02/29/16     010018     Arthur B. Levine Co., Inc.                      TRUSTEE'S BOND                                          2300-000                                           260.84         349,375.87
                                  370 Lexington Avnue
                                  Suite 1101
                                  New York, NY 10017
 *        02/29/16     010019     ADP, Inc.                                       2015 Employee W-2                                       2990-004                                           157.35         349,218.52
                                  Attention: Carlos Guerrero
                                  W2 Processing
                                  1851 N. Resler Dr.
                                  El Paso, TX 79912
          03/07/16                ASSOCIATED BANK                                 BANK SERVICE FEE                                        2600-000                                           486.25         348,732.27
          03/21/16     010020     ADP, INC.                                       2015 Employee W2                                        2990-000                                           157.35         348,574.92
                                  Attn: Carlos Guerrero/W2 Processing
                                  1851 North Resler Dr.
                                  El Paso, TX 79912
          03/21/16     010021     UPS STORE                                       Delivery Service                                        2990-000                                            36.24         348,538.68
                                                                                  Deliver Order for Debtor's 2015 Employee W2s.

                                                                                                                                   Page Subtotals                         0.00              94,652.93
                                                                                                                                                                                                                Ver: 22.07g
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                                          Case 14-40855                  Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-40855 -DRC                                                                                              Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                          Bank Name:                       ASSOCIATED BANK
                                                                                                                                  Account Number / CD #:           *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                     Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                              3                                                  4                                                 5                       6                   7
     Transaction      Check or                                                                                                            Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                           Description Of Transaction               Tran. Code      Deposits ($)          Disbursements ($)       Balance ($)
 *        03/28/16     010019     ADP, Inc.                                        Stop Payment Reversal                                 2990-004                                         -157.35         348,696.03
                                  Attention: Carlos Guerrero                       STOP PAY ADD SUCCESSFUL
                                  W2 Processing
                                  1851 N. Resler Dr.
                                  El Paso, TX 79912
          04/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          518.79         348,177.24
          05/06/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          500.95         347,676.29
          06/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          516.87         347,159.42
          06/30/16     010022     Willard D. Martens                               Administrative Expense - Chapter 7                    2990-000                                         5,305.50        341,853.92
                                  2404 Litchfield Ct.                              Payment for services rendered post-petition by
                                  Naperville, IL 60565                             Debtor's former CFO per Order dated May 12, 2015,
                                                                                   from January 27, 2016 through June 16, 2016, per
                                                                                   billings from Willard D. Martens re same.
          07/08/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          499.49         341,354.43
          08/05/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          508.80         340,845.63
          08/08/16     010023     Technology Support & Solutions, Inc.             Computer Hosting Services                             2410-000                                          150.00         340,695.63
                                  123 West Madison Street                          Invoice Nos. 8293, 8349 and 8438 for period June 1,
                                  Suite 500                                        2016, thru August 31, 2016.
                                  Chicago, IL 60602
          09/08/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          506.55         340,189.08
          09/15/16     010024     Technology Support & Solutions, Inc.             Computer Hosting                                      2990-000                                          150.00         340,039.08
                                  123 West Madison Street                          Monthly charges for 6/1/16 thru 8/31/16 at $50.00 for
                                  Suite 500                                        computer hosting fees re Invoice Nos. 8293, 8349 and
                                  Chicago, IL 60602                                8438 per month per Order dated May 26, 2015.
          09/15/16     010025     Technology Support & Solutions, Inc.             Computer Hosting & Consulting                         2990-000                                          662.50         339,376.58
                                  123 West Madison Street                          Monthly charges for 4/1/16 thru 5/31/16 at $50.00 per
                                  Suite 500                                        month plus service charge for consulting services in
                                  Chicago, IL 60602                                payment of Invoice No. 8189 per Order dated May
                                                                                   26, 2015.
 *        09/19/16                Associated Bank                                  Correction to Deposits                                1290-003                       0.68                              339,377.26

                                                                                                                                  Page Subtotals                        0.68               9,162.10
                                                                                                                                                                                                              Ver: 22.07g
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          UST Form 101-7-TDR (5/1/2011) (Page: 64)
                                          Case 14-40855                  Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                  Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit 9
  Case No:             14-40855 -DRC                                                                                                Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                            Bank Name:                         ASSOCIATED BANK
                                                                                                                                    Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                       Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                3                                                  4                                                 5                       6                   7
    Transaction       Check or                                                                                                              Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                            Description Of Transaction               Tran. Code      Deposits ($)         Disbursements ($)       Balance ($)
                                                                                   Correction to deposits on 8/5/15 for 49.10 and
                                                                                   1576.00. The correct amount for 49.10 is 49.18 and
                                                                                   the correct amount for 1576.00 is 1576.60 for a total
                                                                                   to be added of .68.
          09/20/16       35       Digital Design Corporation                       Refund of Deposit                                       1229-000                   250.00                                339,627.26
                                  3820 Ventura Drive
                                  Arlington Heights, IL 60004
          10/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         489.19          339,138.07
          11/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         504.20          338,633.87
          12/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         487.22          338,146.65
          01/09/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         502.73          337,643.92
          01/13/17     010026     Technology Support & Solutions, Inc.             Computer hosting.                                       2410-000                                         250.00          337,393.92
                                  123 West Madison Street - Suite 500              Invoice Nos. 8604, 8679, 8754 and 8800.
                                  Chicago, IL 60602
          02/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         501.86          336,892.06
          03/03/17       36       Kenneth J. Donkel, LLC                           SETTLEMENT                                              1241-000                  1,000.00                               337,892.06
          03/03/17       36       Kenneth J. Donkel, LLC                           SETTLEMENT                                              1241-000                  1,000.00                               338,892.06
          03/03/17       36       Kenneth J. Donkel, LLC                           SETTLEMENT                                              1241-000                  6,000.00                               344,892.06
          03/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         452.41          344,439.65
          03/23/17     010027     International Sureties, Ltd.                     Trustee Bond                                            2300-000                                         103.89          344,335.76
                                  701 Poydras St. - Suite 420
                                  New Orleans, LA 70139
          04/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         511.29          343,824.47
          05/05/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         494.69          343,329.78
          06/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                        2600-000                                         510.39          342,819.39
          07/10/17       37       SMW National Pension Fund                        SETTLEMENT                                              1241-000              13,000.00                                  355,819.39
                                  8403 Arlington Blvd.
                                  Suite 300
                                  Fairfax, VA


                                                                                                                                    Page Subtotals               21,250.00                  4,807.87
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LFORM24
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                                          Case 14-40855                  Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                 Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit 9
  Case No:             14-40855 -DRC                                                                                               Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                           Bank Name:                         ASSOCIATED BANK
                                                                                                                                   Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                      Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                4                                                  5                       6                   7
     Transaction      Check or                                                                                                            Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          07/10/17       38       RP 2, Ltd. Partnership                           SETTLEMENT                                            1241-000                   7,200.00                               363,019.39
                                  2175 Point Blvd.
                                  Suite 125
                                  Elgin, IL
          07/10/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                           493.24         362,526.15
          08/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                           530.32         361,995.83
          08/13/17       39       Wintrust Financial COrp.                         SETTLEMENT                                            1241-000                   9,000.00                               370,995.83
                                  9700 West Higgins Road
                                  Suite 730
                                  Rosemont, IL
          09/08/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                           545.95         370,449.88
          09/13/17     010028     Technology Support & Solutions, Inc.             Computer Hosting and Consulting                       2990-000                                           400.00         370,049.88
                                  123 West Madison Street                          In payment of monthly Invoice Numbers 8907, 8954,
                                  Suite 500                                        9057, 9152, 9235, 9288, 9249 and 9469, per Order
                                  Chicago, IL 60602                                dated May 26, 2015, for period February 1, 2017,
                                                                                   through September 30, 2017.
          10/06/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                           532.77         369,517.11
          11/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                           549.34         368,967.77
          11/30/17       40       SCN Investments LLC                              SETTLEMENT                                            1241-000               20,000.00                                  388,967.77
          11/30/17       41       Village of Rosemont                              SETTLEMENT                                            1241-000               15,000.00                                  403,967.77
          11/30/17       42       BankDirect Capital Finance                       SETTLEMENT                                            1241-000                   5,500.00                               409,467.77
          11/30/17       43       Stinson Leonard Street LLP                       SETTLEMENT                                            1241-000                   5,300.00                               414,767.77
          11/30/17       44       Stamos & Trucco LLP                              SETTLEMENT                                            1241-000               11,000.00                                  425,767.77
          12/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                           533.59         425,234.18
 *        12/21/17     010029     Saul Ewing Arnstein & Lehr, LLP                  Trustee's Special Counsel Fees                        3210-003                                      32,122.65           393,111.53
                                  f/k/a Arnsetin & Lehr, LLP                       Interim attorney fees per Order dated December 19,
                                  161 North LaSalle Street                         2017.
                                  Suite 4200
                                  Chicago, IL 60601


                                                                                                                                  Page Subtotals                73,000.00                  35,707.86
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                                          Case 14-40855             Doc 395     Filed 04/06/23 Entered 04/06/23 08:18:29                                  Desc Main
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-40855 -DRC                                                                                             Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                         Bank Name:                         ASSOCIATED BANK
                                                                                                                                 Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                    Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                             3                                                 4                                                  5                       6                   7
     Transaction      Check or                                                                                                          Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          12/21/17     010030     Saul Ewing Arnstein & Lehr, LLP                Trustee's Special Counsel Expenses                    3220-000                                          4,389.32        388,722.21
                                  f/k/a Arnsetin & Lehr, LLP                     Reimbursement of expenses per Order dated
                                  161 North LaSalle Street                       December 19, 2017.
                                  Suite 4200
                                  Chicago, IL 60601
 *        12/26/17     010029     Saul Ewing Arnstein & Lehr, LLP                Trustee's Special Counsel Fees                        3210-003                                      -32,122.65          420,844.86
                                  f/k/a Arnsetin & Lehr, LLP                     Check issued in wrong amount. New check issued in
                                  161 North LaSalle Street                       correct amount.
                                  Suite 4200
                                  Chicago, IL 60601
          12/26/17     010031     Saul Ewing Arnstein & Lehr, LLP                Trustee's Special Counsel Fees                        3210-000                                      27,733.33           393,111.53
                                  f/k/a Arnsetin & Lehr, LLP                     Interim attorney fees per Order dated December 20,
                                  161 North Clark Street                         2017.
                                  Suite 4200
                                  Chicago, IL 60601
          01/08/18                ASSOCIATED BANK                                BANK SERVICE FEE                                      2600-000                                           625.60         392,485.93
          01/23/18       33       JNR Adjustment Company, Inc.                   ACCOUNTS RECEIVABLE                                   1121-000                    710.00                                393,195.93
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/23/18       33       JNR Adjustment Company, Inc.                   ACCOUNTS RECEIVABLE                                   1121-000                   4,614.15                               397,810.08
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/23/18       33       JNR Adjustment Company, Inc.                   ACCOUNTS RECEIVABLE                                   1121-000                   4,299.08                               402,109.16
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/23/18       33       JNR Adjustment Company, Inc.                   ACCOUNTS RECEIVABLE                                   1121-000                   1,407.56                               403,516.72
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/24/18       33       JNR Adjustment Company, Inc.                   ACCOUNTS RECEIVABLE                                   1121-000                    458.79                                403,975.51
                                  P.O. Box 782107

                                                                                                                                Page Subtotals                11,489.58                    625.60
                                                                                                                                                                                                             Ver: 22.07g
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             14-40855 -DRC                                                                                           Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                       Bank Name:                         ASSOCIATED BANK
                                                                                                                               Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                  Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                               3                                                4                                               5                       6                   7
    Transaction       Check or                                                                                                        Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  Orlando, FL 32878
          01/24/18       33       JNR Adjustment Company, Inc.                    ACCOUNTS RECEIVABLE                                 1121-000                  1,974.17                               405,949.68
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/24/18       33       JNR Adjustment Company, Inc.                    ACCOUNTS RECEIVABLE                                 1121-000                   936.40                                406,886.08
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/24/18       33       JNR Adjustment Company, Inc.                    ACCOUNTS RECEIVABLE                                 1121-000                   356.95                                407,243.03
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/24/18       33       JNR Adjustment Company, Inc.                    ACCOUNTS RECEIVABLE                                 1121-000                   429.46                                407,672.49
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/24/18       33       JNR Adjustment Company, Inc.                    ACCOUNTS RECEIVABLE                                 1121-000                  1,050.00                               408,722.49
                                  P.O. Box 782107
                                  Orlando, FL 32878
          01/25/18       45       Wintrust Financial Corp.                        SETTLEMENT                                          1241-000              12,500.00                                  421,222.49
                                  9700 West Higgins Road - Suite 730
                                  Rosemont, IL 60018
          02/01/18     010032     JNR Adjustment Company, Inc.                    Collection Fees                                      3991-000                                        1,623.68        419,598.81
                                  P.O. Box 782107                                 Pursuant to Order entered August 6, 2016, payment of
                                  Orlando, FL 32878                               commissions due re collection of accounts receivable
                                                                                  by JNR Adjustment Company, Inc. per invoice
                                                                                  numbers 22984, 22265, 21937, 21585, 21253, 20914,
                                                                                  29556, 20237, 19833 and 19260.
          02/07/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                    2600-000                                          594.51         419,004.30
          02/22/18     010033     International Sureties, Ltd.                    Trustee's Bond                                      2300-000                                          169.55         418,834.75
                                  701 Poydras Street - Suite 420
                                  New Orleans, LA 70139
          03/02/18     010034     Cornerstone Solutions, Inc.                     Computer Consulting Services                        2990-000                                          591.00         418,243.75

                                                                                                                               Page Subtotals               17,246.98                   2,978.74
                                                                                                                                                                                                           Ver: 22.07g
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                                          Case 14-40855                  Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                 Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             14-40855 -DRC                                                                                               Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                           Bank Name:                       ASSOCIATED BANK
                                                                                                                                   Account Number / CD #:           *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                      Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                4                                                  5                     6                   7
    Transaction       Check or                                                                                                            Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction               Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)
                                  801 West Jackson Blvd.                           Invoice #15-9105, dated 10/5/15, for computer
                                  Suite 402                                        consulting services to generate debtor's invoices
                                  Chicago, IL 60607                                useing Sage 300 CRE software per Order dated May
                                                                                   26, 2015.
          03/02/18     010035     Cornerstone Solutions, Inc.                      Computer Consulting Services                          2990-000                                         518.70         417,725.05
                                  801 West Jackson Blvd.                           Invoice #16-9594, dated 3/2/16, for computer
                                  Suite 402                                        consulting services to generate debtor's invoices
                                  Chicago, IL 60607                                useing Sage 300 CRE software and copy data to flash
                                                                                   drive per Order dated May 26, 2015.
          03/02/18     010036     Technology Support & Solutions, Inc.             Computer Consulting Services                          2990-000                                         250.00         417,475.05
                                  123 West Madison Street                          In payment of monthly Invoice Numbers 9573, 9658,
                                  Suite 500                                        9760, 9837,and 9924, per Order dated May 26, 2015,
                                  Chicago, IL 60602                                for period October 1, 2017, through February 28,
                                                                                   2018.
          03/07/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                         563.20         416,911.85
          04/06/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                         620.63         416,291.22
          05/07/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                         598.92         415,692.30
          05/08/18       46       American Express                                 SETTLEMENT                                            1241-000               90,000.00                                505,692.30
                                  Travel Related Services Comapny, Inc.
          06/07/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                         721.58         504,970.72
          07/09/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                         726.53         504,244.19
          07/26/18       33       JNR Adjustment Company, Inc.                     ACCOUNTS RECEIVABLE                                   1121-000                   116.54                               504,360.73
                                  P.O. Box 782107
                                  Orlando, FL 32878
          07/26/18     010037     Inman & Fitzgibbons, Ltd.                        Special Counsel Fees                                  3210-000                                    10,460.00           493,900.73
                                  33 North Dearborn Street                         Payment of Trustee's Specail Counsel fees per Order
                                  Suite 1825                                       dated July 17, 2018.
                                  Chicago, IL 60602
          07/26/18     010038     Inman & Fitzgibbons, Ltd.                        Special Counsel Expenses                              3220-000                                         271.25         493,629.48
                                  33 North Dearborn Street                         Payment of special counsel expenses per Order dated

                                                                                                                                   Page Subtotals               90,116.54                14,730.81
                                                                                                                                                                                                             Ver: 22.07g
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-40855 -DRC                                                                                               Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                           Bank Name:                         ASSOCIATED BANK
                                                                                                                                   Account Number / CD #:             *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                      Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                 4                                                 5                       6                   7
     Transaction      Check or                                                                                                            Uniform                                                     Account / CD
        Date          Reference                 Paid To / Received From                          Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                  Suite 1825                                       July 17, 2018.
                                  Chicago, IL 60602
          08/07/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          749.26          492,880.22
          08/28/18       47       Travelers Property Casualty                      SETTLEMENT                                            1241-000                   9,000.00                               501,880.22
          09/10/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          734.51          501,145.71
          09/18/18       33       University of Illinois                           ACCOUNTS RECEIVABLE                                   1121-000                    516.49                                501,662.20
                                  1817 S. Neil Street
                                  Champaign, IL
          10/05/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          721.46          500,940.74
          10/06/18       48       Robert B. Flannery                               SETTLEMENT                                            1241-000               35,000.00                                  535,940.74
                                  Life Insurance Trust
          10/06/18       49       AT&T                                             SETTLEMENT                                            1241-000                   2,000.00                               537,940.74
          10/22/18     010039     Saul Ewing Arnstein & Lehr, LLP                  ATTORNEY FEES                                                                                        45,338.80          492,601.94
                                  f/k/a Arnsetin & Lehr, LLP                       Special counsel fees and expenses per Order dated
                                  161 North Clark Street, Suite 4200               October 9, 2018.
                                  Chicago, IL 60601
                                                                                          Fees                   45,328.80               3210-000
                                                                                          Expenses                 10.00                 3220-000
 *        10/31/18                Reverses Adjustment IN on 09/19/16               Correction to Deposits                                1290-003                      -0.68                               492,601.26
          11/07/18                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                          774.22          491,827.04
          12/06/18     010040     Technology Support & Solutions, Inc.             Computer Consulting Services                          2990-000                                          450.00          491,377.04
                                  123 West Madison Street - Suite 500              In payment of monthly Invoice Numbers 10010,
                                  Chicago, IL 60602                                10133, 10245, 10330, 10435, 10523, 10601, 10727
                                                                                   and 10818 per Order dated May 26, 2015, for period
                                                                                   March 1, 2018, through November 30, 2018.
          12/12/18                Trsf To Axos Bank                                FINAL TRANSFER                                        9999-000                                      491,377.04                    0.00




                                                                                                                                   Page Subtotals               46,515.81               540,145.29
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                      Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                  Bank Name:                       ASSOCIATED BANK
                                                                                                                          Account Number / CD #:           *******5109 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


          1               2                             3                                             4                                               5                       6                  7
    Transaction       Check or                                                                                                   Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                          Memo Allocation Receipts:          319,232.35               COLUMN TOTALS                                   745,539.52              745,539.52                   0.00
                                      Memo Allocation Disbursements:          15,961.62                   Less: Bank Transfers/CD's                         0.00              491,377.04
                                                                                                      Subtotal                                        745,539.52              254,162.48
                                                Memo Allocation Net:         303,270.73                   Less: Payments to Debtors                                                 0.00
                                                                                                      Net
                                                                                                                                                      745,539.52              254,162.48




                                                                                                                          Page Subtotals                        0.00                  0.00
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                                          Case 14-40855                  Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                  Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-40855 -DRC                                                                                                Trustee Name:                     Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                            Bank Name:                        Axos Bank
                                                                                                                                    Account Number / CD #:            *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                       Blanket Bond (per case limit):    $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                 3                                                4                                                  5                      6                  7
     Transaction      Check or                                                                                                             Uniform                                                    Account / CD
        Date          Reference                 Paid To / Received From                         Description Of Transaction                Tran. Code       Deposits ($)        Disbursements ($)       Balance ($)
                                                                                   BALANCE FORWARD                                                                                                                  0.00
          12/12/18                Trsf In From ASSOCIATED BANK                     INITIAL WIRE TRANSFER IN                               9999-000              491,377.04                                491,377.04
          04/06/19     002001     Inernational Sureties, Ltd.                      TRUSTEE'S BOND                                         2300-000                                         188.52         491,188.52
                                  701 Poydras Street                               BOND #016073584
                                  Suite 420
                                  New Orleans, LA 70139                            Premium 2/1/19 - 2/1/20
          04/11/19        2       Susana A. Mendoza                                Turnover                                               1129-000              186,613.69                                677,802.21
                                  Comptroller - State of Illinois
          07/12/19     002002     Technology Support & Solutions, Inc.             Delivery Charge for Computers                          2990-000                                         400.00         677,402.21
                                  123 West Madison Street - Suite 500              Invoice #11677 - Dated July 10, 2019
                                  Chicago, IL
          10/11/19       33       JNR Adjustment Company, INc.                     Account Receivable                                     1121-000                   685.29                               678,087.50
                                  P.O. Box 948197
                                  Maitland, FL
 *        10/11/19                JNR Adjustment Company                           ACCOUNTS RECEIVABLE                                    1121-003                   685.29                               678,772.79
                                  P.O. Box 948197
                                  Maitland, FL
 *        10/11/19                JNR Adjustment Company                           ACCOUNTS RECEIVABLE                                    1121-003                   -685.29                              678,087.50
                                  P.O. Box 948197                                  Duplicate replacment check deposited in error.
                                  Maitland, FL
          03/03/20     002003     International Sureties, Ltd.                     TRUSTEE'S BOND                                         2300-000                                         227.74         677,859.76
                                  701 Poydras St.                                  Blanket Bond Premium 02/01/20 to 02/01/21
                                  Suite 420                                        BOND # 016073584
                                  New Orleans, LA 70139
          03/03/21                Axos Bank                                        BANK SERVICE FEE                                       2600-000                                         676.00         677,183.76
          04/02/21                Axos Bank                                        BANK SERVICE FEE                                       2600-000                                         747.73         676,436.03
          04/06/21     002004     International Sureties, Ltd.                     BOND PREMIUM                                           2300-000                                         584.57         675,851.46
                                  Suite 420
                                  701 Poydras Street
                                  New Orleans, LA 70139

                                                                                                                                    Page Subtotals              678,676.02                 2,824.56
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             14-40855 -DRC                                                                                          Trustee Name:                      Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                      Bank Name:                         Axos Bank
                                                                                                                              Account Number / CD #:             *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                 Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                                3                                               4                                              5                       6                  7
    Transaction       Check or                                                                                                       Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction           Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          05/03/21                Axos Bank                                      BANK SERVICE FEE                                    2600-000                                          722.42        675,129.04
          06/01/21                Axos Bank                                      BANK SERVICE FEE                                    2600-000                                          745.47        674,383.57
          07/01/21                Axos Bank                                      BANK SERVICE FEE                                    2600-000                                          720.57        673,663.00
          08/02/21                Axos Bank                                      BANK SERVICE FEE                                    2600-000                                          743.80        672,919.20
          08/18/21     002005     JNR Adjustment Company, Inc.                   Collection Fees                                      3991-000                                          80.18        672,839.02
                                  P.O. Box 948197                                Pursuant to Order entered August 6, 2016, payment of
                                  Maitland, FL 32794                             commissions due re collection of accounts receivable
                                                                                 by JNR Adjustment Company, Inc. per invoice
                                                                                 number30151.
          09/01/21     002006     United States Treasury                         Civ-Penalty 2015                                    6810-000                                         2,377.41       670,461.61
                                  Internal Revenue Service                       FEIN XX-XXXXXXX
                                  Kanasa City, MO 64999-0202
          09/01/21                Axos Bank                                      BANK SERVICE FEE                                    2600-000                                          742.98        669,718.63
          10/01/21                Axos Bank                                      BANK SERVICE FEE                                    2600-000                                          716.27        669,002.36
          04/15/22                United States Treasury                         Refund of Civil Penalty                             1124-000                  2,418.34                              671,420.70
          06/17/22     002007     Phillip D. Levey                               Trustee Compensation                                2100-000                                      50,689.98         620,730.72
                                  2722 North Racine Avenue
                                  Chicago, IL
          06/17/22     002008     Phillip D. Levey                               Trustee Expenses                                    2200-000                                          850.71        619,880.01
                                  2722 North Racine Avenue
                                  Chicago, IL
          06/17/22     002009     Phillip D. Levey                               Attorney for Trustee Fees (Trustee                  3110-000                                     139,160.00         480,720.01
                                  2722 North Racine Avenue
                                  Chicago, IL
          06/17/22     002010     Office of The Clerk                            Court Costs                                         2700-000                                         1,226.00       479,494.01
                                  U.S. Bankruptcy Court
                                  219 South Dearborn Street
                                  Chicago, IL
          06/17/22     002011     Lois West & Popowcer Katten, Ltd.              Accountant for Trustee Fees (Other                  3410-000                                      12,741.00         466,753.01


                                                                                                                              Page Subtotals                   2,418.34            211,516.79
                                                                                                                                                                                                         Ver: 22.07g
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                                          Case 14-40855               Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                             Desc Main
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             14-40855 -DRC                                                                                        Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                    Bank Name:                       Axos Bank
                                                                                                                            Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                               Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                4                                            5                       6                   7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  35 East Wacker Drive, Suite 690
                                  Chicago, IL 60601
          06/17/22     002012     Lois West & KRD, Ltd.                          Accountant for Trustee Fees (Other               3410-000                                          8,243.00        458,510.01
                                  1051 Perimeter Drive
                                  9th Floor
                                  Schaumburg, IL 60173
          06/17/22     002013     Cheryl G. Wesler                               Accountant for Trustee Fees (Other                                                                 1,500.00        457,010.01
                                  Wesler & Associates
                                  P.O. Box 19016
                                  Kalamazoo, MI 49019
                                                                                        Fees                   1,150.00           3410-000
                                                                                        Expenses                350.00            3420-000
          06/17/22     002014     Office of the U.S. Trustee                     Claim 000025, Payment 100.00000%                 2950-000                                          7,802.35        449,207.66
                                  219 S Dearborn St., Room 873
                                  Chicago, IL 60606
          06/17/22     002015     James E. Morgan                                Attorney for D-I-P Fees (Chapter 11              6210-160                                       14,419.27          434,788.39
                                  Howard & Howard, PLLC
                                  200 S. Michigan Ave. - Suite 1100
                                  Chicago, IL 60604
          06/17/22     002016     Crane, Heyman, Simon, Welch & Clar             Claim 000080A, Payment 100.00000%                                                               12,313.64          422,474.75
                                  135 S. LaSalle, #3705
                                  Chicago, IL 60603
                                                                                        Fees                   10,593.00          6700-000
                                                                                        Expenses               1,720.64           6710-000
          06/17/22     002017     Internal Revenue Service                       Claims of Governmental Units - 507(              6950-000                                           126.00         422,348.75
                                  P.O. Box 806531
                                  Cincinnati, OH 45280-6531
          06/17/22     002018     WILLARD D. MARTENS                             Administrative Post Petition Wages               6950-720                                       26,011.44          396,337.31
                                  2404 Litchfield Ct.
                                  Naperville, IL 60565

                                                                                                                            Page Subtotals                        0.00              70,415.70
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             14-40855 -DRC                                                                                         Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                     Bank Name:                       Axos Bank
                                                                                                                             Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                3                                                  4                                          5                       6                  7
     Transaction      Check or                                                                                                      Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          06/17/22     002019     INTERNAL REVENUE SERVICE                         FICA                                            6950-720                                          2,584.47       393,752.84
          06/17/22     002020     ILLINOIS DEPARTMENT OF REVENUE                   ILLINOIS WITHHOLDING TAX                        6950-720                                          2,063.41       391,689.43
          06/17/22     002021     INTERNAL REVENUE SERVICE                         FEDERAL WITHHOLDING TAX                         6950-720                                       10,421.25         381,268.18
          06/17/22     002022     INTERNAL REVENUE SERVICE                         MEDICARE                                        6950-720                                           604.43        380,663.75
          06/17/22     002023     Gregory Putlak                                   Administrative Post Petition Wages              6950-720                                          4,728.70       375,935.05
                                  9521 S Harding Ave
                                  Evergreen Park, IL 60805
          06/17/22     002024     Hong Song                                        Administrative Post Petition Wages              6950-720                                          4,955.91       370,979.14
                                  2758 Olentangy Dr.
                                  Akron, OH44333
          06/17/22     002025     INTERNAL REVENUE SERVICE                         FICA                                            6950-720                                           962.26        370,016.88
          06/17/22     002026     ILLINOIS DEPARTMENT OF REVENUE                   ILLINOIS WITHHOLDING TAX                        6950-720                                           768.25        369,248.63
          06/17/22     002027     INTERNAL REVENUE SERVICE                         FEDERAL WITHHOLDING TAX                         6950-720                                          3,880.06       365,368.57
          06/17/22     002028     INTERNAL REVENUE SERVICE                         MEDICARE                                        6950-720                                           225.04        365,143.53
          06/17/22     002029     INTERNAL REVENUE SERVICE                         PRIOR CH FICA EMPLOYER                          6950-730                                          3,546.73       361,596.80
          06/17/22     002030     INTERNAL REVENUE SERVICE                         PRIOR CH MEDICARE EMPLOYER                      6950-730                                           829.47        360,767.33
          06/17/22     002031     Cabot II - IL1M08, LLC                           Administrative Rent (post-petition              2410-000                                       54,142.83         306,624.50
          06/17/22     002032     Willard D. Martens                               Post-Conversion Services                        2990-000                                          5,000.00       301,624.50
                                  2404 Litchfield Ct.
                                  Naperville, IL 60565
          06/17/22     002033     Illinois Dept of Employment Security             Taxes on Administrative Post Petiti             6950-730                                          1,003.93       300,620.57
                                  PO Box 19300
                                  Springfield, IL 62794-9300
 *        06/17/22     002034     Illinois Department of Revenue                   Claim 000024, Payment 100.00000%                6820-004                                          5,865.90       294,754.67
                                  Bankruptcy Section
                                  P.O. Box 64338
                                  Chicago, IL 60664-0338
          06/17/22     002035     Pension Benefit Guaranty Corporation             Claim 000047A, Payment 100.00000%               6990-000                                          2,449.33       292,305.34
                                  Office of the Chief Counsel


                                                                                                                             Page Subtotals                        0.00           104,031.97
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                      Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                  Bank Name:                       Axos Bank
                                                                                                                          Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                              3                                               4                                            5                       6                   7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Attn: Cameo M. Kaisler
                                  1200 K St., NW, Suite 340
                                  Washington D.C. 20005
 *        06/17/22     002036     Illinois Department of Revenue                  Claim 000064, Payment 100.00000%              6820-004                                          3,568.65        288,736.69
                                  Bankruptcy Section
                                  P.O. Box 64338
                                  Chicago, IL 60664-0338
          06/17/22     002037     National Electrical Benefit Fund                Claim 000079, Payment 100.00000%              6950-000                                          7,713.58        281,023.11
                                  c/o David R. Shannon
                                  Tenney & Bentley, LLC
                                  111 W. Washington St., Suite 1900
                                  Chicago, IL 60602
          06/17/22     002038     New York State Department of                    Claim 000083, Payment 100.00000%              6820-000                                           901.36         280,121.75
                                  Taxation & Finance
                                  Bankruptcy Section
                                  PO Box 5300
                                  Albany, NY 12205
          06/17/22     002039     Franchise Tax Board                             Claim 000084, Payment 100.00000%              6820-000                                          1,573.21        278,548.54
                                  Bankruptcy Section MS A340
                                  P.O. Box 2952
                                  Sacremento, CA 95812-2952
          06/17/22     002040     Pension Benefit Guaranty Corporation            Claim 000047C, Payment 100.00000%             5200-000                                       11,538.51          267,010.03
                                  Office of the Chief Counsel
                                  Attn: Cameo M. Kaisler
                                  1200 K St., NW, Suite 340
                                  Washington D.C. 20005
          06/17/22     002041     Elizabeth Pawlak                                Claim 000040, Payment 100.00000%              5300-000                                          3,273.61        263,736.42
                                  718 Slingerland Dr
                                  Schaumburg, IL 60193
          06/17/22     002042     Gregory Putlak                                  Claim 000044, Payment 100.00000%              5300-000                                          7,784.40        255,952.02

                                                                                                                          Page Subtotals                        0.00              36,353.32
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             14-40855 -DRC                                                                                         Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                     Bank Name:                       Axos Bank
                                                                                                                             Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                       6                   7
     Transaction      Check or                                                                                                      Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  9521 S Harding Ave
                                  Evergreen Park, IL 60805
          06/17/22     002043     Willard D. Martens                               Claim 000060A, Payment 100.00000%               5300-000                                          7,784.40        248,167.62
                                  2404 Litchfield Ct.
                                  Naperville, IL 60565
          06/17/22     002044     Hong Song                                        Claim 000082, Payment 100.00000%                5300-000                                          7,784.40        240,383.22
                                  2758 Olentangy Dr.
                                  Akron, OH44333
          06/17/22     002045     INTERNAL REVENUE SERVICE                         FICA                                            5300-000                                          2,645.61        237,737.61
          06/17/22     002046     ILLINOIS DEPARTMENT OF REVENUE                   ILLINOIS WITHHOLDING TAX                        5300-000                                          2,112.21        235,625.40
          06/17/22     002047     INTERNAL REVENUE SERVICE                         FEDERAL WITHHOLDING TAX                         5300-000                                       10,667.79          224,957.61
          06/17/22     002048     INTERNAL REVENUE SERVICE                         MEDICARE                                        5300-000                                           618.74         224,338.87
          06/17/22     002049     Electrical Insurance Trustees                    Claim 000041, Payment 100.00000%                5400-000                                          7,046.28        217,292.59
                                  David R. Shannon
                                  Tenney & Bentley, LLC
                                  111 W. Washington St., Suite 1900
                                  Chicago, IL 60602
          06/17/22     002050     INTERNAL REVENUE SERVICE                         PRIORITY FICA EMPLOYER                          5800-000                                          1,872.16        215,420.43
          06/17/22     002051     INTERNAL REVENUE SERVICE                         PRIORITY MEDICARE EMPLOYER                      5800-000                                           437.85         214,982.58
          06/17/22     002052     Illinois Dept of Employment Security             Claims of Governmental Units - 507(             5800-000                                           634.20         214,348.38
                                  PO Box 19300
                                  Springfield, IL 62794-9300
          06/17/22     002053     Internal Revenue Service                         Claims of Governmental Units - 507(             5800-000                                            45.55         214,302.83
                                  P.O. Box 806531
                                  Cincinnati, OH 45280-6531
 *        06/17/22     002054     Illinois Department of Revenue                   Claim 000023A, Payment 100.00000%               5800-004                                       10,428.98          203,873.85
                                  Bankruptcy Section
                                  P.O. Box 64338
                                  Chicago, IL 60664-0338


                                                                                                                             Page Subtotals                        0.00              52,078.17
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                      Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                  Bank Name:                       Axos Bank
                                                                                                                          Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
    Transaction       Check or                                                                                                   Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          06/17/22     002055     Ohio Department of Taxation                     Claim 000027A, Payment 100.00000%             5800-000                                           721.73         203,152.12
                                  Bankruptcy Division
                                  P.O. Box 530
                                  Columbus, OH 43216
          06/17/22     002056     New York State                                  Claim 000075, Payment 100.00000%              5800-000                                           368.02         202,784.10
                                  Department of Taxation and Finance
                                  Bankruptcy Section
                                  P O Box 5300
                                  Albany, NY 12205-0300
          06/17/22     002057     State Board of Equalization                     Claim 000078A, Payment 100.00000%             5800-000                                           735.00         202,049.10
                                  Special Operations Branch, MIC:55
                                  PO Box 942879
                                  Sacramento, CA 94279-0055
          06/17/22     002058     INTERNAL REVENUE SERVICE                        PRIORITY FICA EMPLOYER                        5800-000                                           773.45         201,275.65
          06/17/22     002059     INTERNAL REVENUE SERVICE                        PRIORITY MEDICARE EMPLOYER                    5800-000                                           180.89         201,094.76
          06/17/22     002060     State of Florida - Department of Revenue        Claim 000061A, Payment 100.00000%             6820-000                                           200.00         200,894.76
                                  Post Office Box 6668
                                  Tallahassee, FL 32314-6668
          06/17/22     002061     Ceridian                                        Claim 000001, Payment 3.00476%                7100-000                                            31.55         200,863.21
                                  3311 E Old Shakopee Rd
                                  Bloomington MN 55425
          06/17/22     002062     CIT Finance LLC                                 Claim 000002, Payment 3.00444%                7100-000                                          1,831.32        199,031.89
                                  LeClair Ryan
                                  c/o Angela Watson
                                  Riverfront Plaza, East Tower
                                  951 East Byrd Street, Eighth Floor
                                  Richmond, VA 23219
          06/17/22     002063     BankDirect Capital Finance                      Claim 000003, Payment 3.00444%                7100-000                                           124.86         198,907.03
                                  150 North Field Drive, Suite 190
                                  Lake Forest, IL 60045

                                                                                                                          Page Subtotals                        0.00               4,966.82
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             14-40855 -DRC                                                                                      Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                  Bank Name:                       Axos Bank
                                                                                                                          Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                  7
     Transaction      Check or                                                                                                   Uniform                                                     Account / CD
        Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          06/17/22     002064     Cox Professional Resources, Inc.                Claim 000004, Payment 3.00446%                7100-000                                           296.12        198,610.91
                                  Steven D. Titiner
                                  1700 N. Farnsworth Ave.
                                  Aurora, IL 60505
          06/17/22     002065     Active Electrical Supply Company                Claim 000005, Payment 3.00446%                7100-000                                           352.40        198,258.51
                                  C/O James P. Ziegler
                                  1 E Wacker Drive Suite 2610
                                  Chicago IL 60601
 *        06/17/22     002066     Commonwealth Edison Company                     Claim 000006, Payment 3.00444%                7100-004                                          1,024.21       197,234.30
                                  3 Lincoln Center
                                  Attn: Bankruptcy Department
                                  Oakbrook Terrace, IL 60181
          06/17/22     002067     Illinois Bell Telephone Company                 Claim 000007, Payment 3.00465%                7100-000                                            63.84        197,170.46
                                  c/o AT&T Services, Inc.
                                  Karen A. Cavagnaro-Lead Paralegal
                                  One AT&T Way, Room 3A104
                                  Bedminster, NJ 07921
          06/17/22     002068     Mary B. Flannery Trust                          Claim 000008, Payment 3.00444%                7100-000                                       26,877.85         170,292.61
                                  Eastwood Bank, Trustee
                                  Attn: Timothy Melin
                                  Eastwood Bank Trust Department
                                  318 First Avenue SW, Suite 120
                                  Rochester, MN 55902
          06/17/22     002069     Josephine Berry Trust                           Claim 000009, Payment 3.00444%                7100-000                                       18,435.49         151,857.12
                                  Eastwood Bank, Trustee
                                  Attn: Timothy Melin
                                  Eastwood Bank Trust Department
                                  318 First Avenue SW, Suite 120
                                  Rochester, MN 55902
          06/17/22     002070     Thomas F. Flannery Insurance Trust              Claim 000010, Payment 3.00444%                7100-000                                       74,229.91             77,627.21


                                                                                                                          Page Subtotals                        0.00           121,279.82
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                     Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                 Bank Name:                       Axos Bank
                                                                                                                         Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                                3                                            4                                            5                       6                   7
    Transaction       Check or                                                                                                  Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Eastwood Bank, Trustee
                                  attn: Timothy Melin
                                  Eastwood Bank Trust Department
                                  318 First Avenue SW, Suite 120
                                  Rochester, MN 55902
          06/17/22     002071     Cabot II - IL1M08, LLC                         Claim 000014, Payment 3.00444%                7100-000                                       11,355.97              66,271.24
                                  c/o Kaplan Papadakis & Gournis, PC
                                  180 N. LaSalle Street, Suite 2108
                                  Chicago, IL 60601
          06/17/22     002072     Accounting Principals, Inc                     Claim 000017, Payment 3.00448%                7100-000                                           360.05             65,911.19
                                  10151 Deerwood Park Blvd
                                  Bldg 200, Suite 400
                                  Jacksonville, FL 32256
          06/17/22     002073     ALL RIGHT SIGN, INC.                           Claim 000020, Payment 3.00443%                7100-000                                          1,886.86            64,024.33
                                  C/O FRED R. HARBECKE
                                  53 W. JACKSON BLVD. SUITE 1510
                                  CHICAGO, IL 60604
          06/17/22     002074     Franchise Tax Board                            Claim 000021, Payment 3.00372%                7100-000                                            16.13             64,008.20
                                  Bankruptcy Section MS A340
                                  Franchise Tax Board
                                  PO Box 2952
                                  Sacramento, CA 95812-2952
          06/17/22     002075     CT Corporation System                          Claim 000022, Payment 3.00454%                7100-000                                            64.85             63,943.35
                                  P.O. Box 4349
                                  Carol Stream, IL 60197
          06/17/22     002076     South Suburban College                         Claim 000026, Payment 3.00446%                7100-000                                           743.83             63,199.52
                                  Kusper & Raucci Chartered
                                  33 N. Dearborn Street
                                  Suite 1530
                                  Chicago, IL 60602-3114


                                                                                                                         Page Subtotals                        0.00              14,427.69
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                      Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                  Bank Name:                       Axos Bank
                                                                                                                          Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          06/17/22     002077     Ohio Department of Taxation                     Claim 000027B, Payment 3.00448%               7100-000                                           264.77             62,934.75
                                  Bankruptcy Division
                                  P.O. Box 530
                                  Columbus, OH 43216
          06/17/22     002078     Twin Rinks Ice Pavilion, Inc.                   Claim 000028, Payment 3.00394%                7100-000                                            30.46             62,904.29
                                  1500 Abbott Ct.
                                  Buffalo Grove, IL 60089
 *        06/17/22     002079     Avaya Inc                                       Claim 000029, Payment 3.00400%                7100-004                                            30.04             62,874.25
                                  c/o RMS Bankruptcy Recovery Services
                                  P.O. Box 361345
                                  Columbus, OH 43236
          06/17/22     002080     Colorimage Inc.                                 Claim 000030, Payment 3.00441%                7100-000                                           156.83             62,717.42
                                  461 N. Milwaukee Ave.
                                  Chicago, IL 60654
          06/17/22     002081     Messina Group, Inc.                             Claim 000031, Payment 3.00445%                7100-000                                           398.39             62,319.03
                                  attn: Beth Morley
                                  c/o Messina Group
                                  P.O. Box 958
                                  Park Ridge, IL 60068
          06/17/22     002082     Midwest Sign & Lighting, Inc.                   Claim 000032, Payment 3.00442%                7100-000                                           448.63             61,870.40
                                  4910 W. Wilshire Blvd.
                                  County Club Hills, IL 60478
          06/17/22     002083     The Pipe Fitters Local 597 Training Fund        Claim 000033, Payment 3.00444%                7100-000                                          2,042.78            59,827.62
                                  c/o William Callinan
                                  300 South Wacker Drive, Suite 1313
                                  Chicago, IL 60606
          06/17/22     002084     American Opto Plus LED Corp                     Claim 000036, Payment 3.00444%                7100-000                                          7,943.31            51,884.31
                                  c/o Jay K. Levy & Associates
                                  PO Box 1181
                                  Evanston, IL 60201

                                                                                                                          Page Subtotals                        0.00              11,315.21
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                        Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                    Bank Name:                       Axos Bank
                                                                                                                            Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                               Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                4                                            5                       6                   7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          06/17/22     002085     CBS Television Studios                            Claim 000037, Payment 3.00445%                7100-000                                           995.87             50,888.44
                                  c/o Jay K. Levy & Associates
                                  PO Box 1181
                                  Evanston, IL 60201
          06/17/22     002086     Liberty Technology Advisors, Inc.                 Claim 000039, Payment 3.00444%                7100-000                                          2,068.56            48,819.88
                                  Attn: Joel Schneider
                                  3100 Dundee Road, Suite 111
                                  Northbrook, IL 60062
          06/17/22     002087     Hershey Entertainment & Resorts Company           Claim 000042, Payment 3.00444%                7100-000                                          2,448.92            46,370.96
                                  27 W. Chocolate Avenue
                                  Hershey, PA 17033
          06/17/22     002088     Gregory Putlak                                    Claim 000044, Payment 3.00458%                7100-000                                            65.46             46,305.50
                                  9521 S Harding Ave
                                  Evergreen Park, IL 60805
          06/17/22     002089     Pension Benefit Guaranty Corporation              Claim 000045, Payment 3.00444%                7100-000                                          7,543.62            38,761.88
                                  Office of the Chief Counsel
                                  Attn: Cameo M. Kaisler
                                  1200 K St., NW, Suite 340
                                  Washington D.C. 20005
          06/17/22     002090     Pension Benefit Guaranty Corporation              Claim 000046, Payment 3.00444%                7100-000                                       16,433.11              22,328.77
                                  Office of the Chief Counsel
                                  Attn: Cameo M. Kaisler
                                  1200 K St., NW, Suite 340
                                  Washington D.C. 20005
          06/17/22     002091     Pension Benefit Guaranty Corporation              Claim 000047B, Payment 3.00445%               7100-000                                          2,478.67            19,850.10
                                  Office of the Chief Counsel
                                  Attn: Cameo M. Kaisler
                                  1200 K St., NW, Suite 340
                                  Washington D.C. 20005
          06/17/22     002092     Electrical Contractors Assn. and Local            Claim 000048, Payment 3.00444%                7100-000                                       11,829.91               8,020.19

                                                                                                                            Page Subtotals                        0.00              43,864.12
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-40855 -DRC                                                                                      Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                  Bank Name:                       Axos Bank
                                                                                                                          Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Union 134
                                  c/o David R. Shannon
                                  Tenney & Bentley, LLC
                                  111 W. Washington St., Suite 1900
                                  Chicago, IL 60602
          06/17/22     002093     WILLARD D. MARTENS                              Claim 000060B, Payment 3.00445%               7100-000                                           750.66             7,269.53
                                  2404 Litchfield Ct.
                                  Naperville, IL 60565
          06/17/22     002094     THOMAS M. DORE                                  Claim 000062A, Payment 3.00444%               7100-000                                          1,517.10            5,752.43
                                  6829 North Wildwood
                                  Chicago, IL 60646
          06/17/22     002095     Thomas M. Dore                                  Claim 000062B, Payment 3.00444%               7100-000                                           630.29             5,122.14
                                  6829 North Wildwood
                                  Chicago, IL 60646
          06/17/22     002096     Iron Mountain Information Management,           Claim 000071, Payment 3.00455%                7100-000                                            89.38             5,032.76
                                  LLC
                                  ATTN: Joseph Corrigan
                                  1 Federal Street, 7th Floor
                                  Boston, Massachusetts 02110
          06/17/22     002097     Barrington Bank and Trust Company               Claim 000072, Payment 3.00446%                7100-000                                           677.68             4,355.08
                                  Randall & Kenig LLP
                                  Scott H. Kenig, Esq
                                  455 N. Cityfront Plaza Drive, Suite 2510
                                  Chicago, IL 60611
          06/17/22     002098     Mosaic Construction, LLC                        Claim 000073, Payment 3.00443%                7100-000                                          1,102.95            3,252.13
                                  Matthew T. Gensburg, Esq.
                                  200 West Adams Street, Suite 2425
                                  Chicago, IL 60606
 *        06/17/22     002099     Wesley United Methodist Church                  Claim 000074, Payment 3.00445%                7100-004                                           824.60             2,427.53
                                  Carla Davis

                                                                                                                          Page Subtotals                        0.00               5,592.66
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                                          Case 14-40855                  Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                          Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             14-40855 -DRC                                                                                        Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                    Bank Name:                       Axos Bank
                                                                                                                            Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                               Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                 4                                            5                       6                    7
     Transaction      Check or                                                                                                     Uniform                                                       Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                  11141 S. Longwood Dr
                                  Chicago, IL 60643
          06/17/22     002100     State Board of Equalization                      Claim 000078B, Payment 3.00541%                7100-000                                             11.12              2,416.41
                                  Special Operations Branch, MIC:55
                                  PO Box 942879
                                  Sacramento, CA 94279-0055
          06/17/22     002101     Hong Song                                        Claim 000082, Payment 3.00442%                 7100-000                                            630.55              1,785.86
                                  2758 Olentangy Dr.
                                  Akron, OH44333
          06/17/22     002102     INTERNAL REVENUE SERVICE                         FICA                                           7100-000                                            294.47              1,491.39
          06/17/22     002103     ILLINOIS DEPARTMENT OF REVENUE                   ILLINOIS WITHHOLDING TAX                       7100-000                                            235.11              1,256.28
          06/17/22     002104     INTERNAL REVENUE SERVICE                         FEDERAL WITHHOLDING TAX                        7100-000                                          1,187.42                68.86
          06/17/22     002105     INTERNAL REVENUE SERVICE                         MEDICARE                                       7100-000                                             68.86                   0.00
 *        09/23/22     002034     Illinois Department of Revenue                   Stop Payment Reversal                          6820-004                                          -5,865.90             5,865.90
                                  Bankruptcy Section                               STOP PAYMENT
                                  P.O. Box 64338
                                  Chicago, IL 60664-0338
 *        09/23/22     002036     Illinois Department of Revenue                   Stop Payment Reversal                          6820-004                                          -3,568.65             9,434.55
                                  Bankruptcy Section                               STOP PAYMENT
                                  P.O. Box 64338
                                  Chicago, IL 60664-0338
 *        09/23/22     002054     Illinois Department of Revenue                   Stop Payment Reversal                          5800-004                                      -10,428.98               19,863.53
                                  Bankruptcy Section                               STOP PAYMENT
                                  P.O. Box 64338
                                  Chicago, IL 60664-0338
          09/25/22     002106     Illinois Department of Revenue                   Claim No. 23A - Payment 100%                   5800-000                                       10,428.98                9,434.55
                                  c/o Joan Ellen Smuda
                                  Chief, Revenue Litigation, Chicago
                                  Office of Illinois Attorney General
                                  100 West Randolph Street, 13th Floor

                                                                                                                            Page Subtotals                        0.00               -7,007.02
                                                                                                                                                                                                         Ver: 22.07g
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             14-40855 -DRC                                                                                        Trustee Name:                    Phillip D. Levey
  Case Name:           WHITE WAY SIGN & MAINTENANCE CO.,                                                                    Bank Name:                       Axos Bank
                                                                                                                            Account Number / CD #:           *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                               Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                 4                                            5                       6                   7
     Transaction      Check or                                                                                                     Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Chicago, IL 60601
          09/25/22     002107     Illinois Department of Revenue                   Claim No. 24 - Payment 100%                    6820-000                                          5,865.90            3,568.65
                                  c/o Joan Ellen Smuda
                                  Chief, Revenue Litigation, Chicago
                                  Office of Illinois Attorney General
                                  100 West Randolph Street, 13th Floor
                                  Chicago, IL 60601
          09/25/22     002108     Illinois Department of Revenue                   Claim No. 64 - Payment 100%                    6820-000                                          3,568.65                  0.00
                                  c/o Joan Ellen Smuda
                                  Chief, Revenue Litigation, Chicago
                                  Office of Illinois Attorney General
                                  100 West Randolph Street, 13th Floor
                                  Chicago, IL 60601
 *        09/26/22     002099     Wesley United Methodist Church                   Stop Payment Reversal                          7100-004                                           -824.60              824.60
                                  Carla Davis                                      STOP PAYMENT
                                  11141 S. Longwood Dr
                                  Chicago, IL 60643
          09/28/22     002109     Wesley United Methodist Church                   Claim #74 Payment 3.00445%                     7100-000                                            824.60                  0.00
                                  201 East 95th Street
                                  Chicago, IL 60619
 *        01/04/23     002066     Commonwealth Edison Company                      Stop Payment Reversal                          7100-004                                          -1,024.21           1,024.21
                                  3 Lincoln Center                                 STOP PAYMENT
                                  Attn: Bankruptcy Department
                                  Oakbrook Terrace, IL 60181
 *        01/04/23     002079     Avaya Inc                                        Stop Payment Reversal                          7100-004                                            -30.04            1,054.25
                                  c/o RMS Bankruptcy Recovery Services             STOP PAYMENT
                                  P.O. Box 361345
                                  Columbus, OH 43236
          01/05/23     002110     Commonwealth Edison                                                                             7100-000                                          1,024.21               30.04
                                  Attention: Revenue Management Dept

                                                                                                                            Page Subtotals                        0.00               9,404.51
                                                                                                                                                                                                        Ver: 22.07g
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                                             Case 14-40855                Doc 395   Filed 04/06/23 Entered 04/06/23 08:18:29                                 Desc Main
                                                                                    Document FORM Page
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                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                          Exhibit 9
  Case No:               14-40855 -DRC                                                                                             Trustee Name:                       Phillip D. Levey
  Case Name:             WHITE WAY SIGN & MAINTENANCE CO.,                                                                         Bank Name:                          Axos Bank
                                                                                                                                   Account Number / CD #:              *******0053 Checking Account
  Taxpayer ID No:    *******4048
  For Period Ending: 04/03/23                                                                                                      Blanket Bond (per case limit):      $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1                2                               3                                                  4                                                 5                          6                         7
    Transaction         Check or                                                                                                          Uniform                                                               Account / CD
       Date             Reference                 Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                           - Bankruptcy Group
                                     1919 Swift Drive
                                     Oakbrook, IL 60523
          03/15/23       002111      U.S. Bankruptcy Court                           Unclaimed Funds                                     7100-000                                                 30.04                         0.00
                                     Fiscal Department                               Claim #29 - Avaya, Inc.
                                     219 South Dearborn Street
                                     Room 702
                                     Chicago, IL 60604

                                             Memo Allocation Receipts:               0.00                      COLUMN TOTALS                                    681,094.36                  681,094.36                           0.00
                                         Memo Allocation Disbursements:              0.00                          Less: Bank Transfers/CD's                    491,377.04                        0.00
                                                                                                               Subtotal                                         189,717.32              681,094.36
                                                   Memo Allocation Net:              0.00                          Less: Payments to Debtors                                                  0.00
                                                                                                               Net
                                                                                                                                                                189,717.32              681,094.36
                                                                                                                                                                                       NET                             ACCOUNT
                     Total Allocation Receipts:           319,232.35                                          TOTAL - ALL ACCOUNTS                       NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:             15,961.62                        Checking Account (Non-Interest Earn - ********5109                   745,539.52                  254,162.48                          0.00
                                                                                                             Checking Account - ********0053                     189,717.32                  681,094.36                          0.00
                     Total Memo Allocation Net:           303,270.73
                                                                                                                                                       ------------------------    ------------------------   ------------------------
                                                                                                                                                                 935,256.84                  935,256.84                          0.00
                                                                                                                                                       ==============             ==============              ==============
                                                                                                                                                        (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                   Transfers)               To Debtors)                    On Hand




                                                                                                                                   Page Subtotals                        0.00                       30.04
                                                                                                                                                                                                                          Ver: 22.07g
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